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EXH|B|T
A

 

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IN THE sUPERIUR CQURT 0F HABERSHAM <;;OUNTY
_ 'STAT_E OF GEORGIA ' `

ANG-ELA and JAMES FIBCHER,_
ludividu_allyand as the Guar-dians of
M()‘-}f_,:L.l.Q¢L-l\fl\ll`."li FISCHER, an A;du¥:t
W£l.¥'lis

Pl_aintiffs-,
v'.

GEORG.IA DEPARTMENT 03
c.oRRECTIo:-Is,_

BO»ARJJ- OF-RMENTS -.OF.THE \ ’

UN_WERSIIY SY-STEM mr
'GE:QRGIA for GEORG:IA _
‘CORRECTIONAL'HEALTHCARE, !
a division of AU-GUSTA
UNWERSITY,_ '

 

C‘()MMISSIONER lB.}U[Al*»lf
()WEl-_`IS`,.§H his individual capacity as
the farmer Co-m,m'i`ssi.on-er '€)f`th:e
Ge@rgia flew rtm-eni-of Co'rrectiron:s,

iDjR. .BI.LL-Y NICHDL-S_, in his
individual capacity as M‘edic`ai
Dirccto.r of Georgia C¢)irrectinnsol
HB%IH§.I]'¢MI"-es

DR.. EIJWARD BAILE_YI, ina his
individual capacity as the former
,D:irecztor of Ge'a!f'g;ia iCorr‘e_atiosnnl
Hea;lth ca_re,

_§D?R. `SHAR(}N LEWIS, in her
individual capacity ;as‘ the M'edical _
]`)i'rgctor forth-c Ge.or.gia _])Q_p;_gr¢mmt
of Corre_ctions,

];{ATH.Y S-EAB*()LT, in her
ill¢livid\lal_capa-ci~i%y* as tile former
Wzlrden cf Arl'endale Stat:ie P:riisoli,

AN'GELA GRANT, in her
individual capacity'as file W'ardem of
Pulaski§$ta'te Pr§i`son,

 

 

 

 

 

 

JURY TRIAL DEMANDE_D

cle ACTIo-N
mm Nc). __A;@.:<.a@ \/ .O,zx¢j c cu

 

 

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DR. YVON- NAZAIRE, in his
individual capacity as the...i='o'rmer
Medi`_cal D=i:restur _at"Pulasid` State
P?ris_on,

BET:'_I`Y RODGE.RS,; in her
individual capacity as the Heal-i:h
Service's Ad;mi'nistrawr at _Puiasiki
`S-f;a-te_ Pr.iso-n_,_

`D'ANNY FINN, ins his individual
capacity as tile I)irei:t:sr of Hu'msn
lite-sources- for G-:e;or_gia Coa~n'ection'al
H`e,a`lthcare, -

ALABA AI}ESHI-GBIN`, fin her
individual cap;aciaty.as a Niosse ai
Ar.rendale: Sta'te \i"_ri_son_, ~

‘_DANIEL Wms:s, willis individual '
capacity ss a Nurse, at Arren:dal€'e ';Sia'is

Pr'iscm,
ELI:LABETH-GEE, in her
individual capacity as az CBrrec-tiQn-al
-.Di’f:ic'er at Arren:dal:e' S.‘ts'lte P`risnn,
HANNAH.FULLER,;H her
individual espacity as s Nu'n'se- at
Arren'd-a.le_ 'St/ai.e\ `I§’_rison,
NUR-SE PAGE, in flwr individ.uai

capacity as a Nurse. at A\l"rend.als Ststc:

Pn*ison,.

AMBER S'TONE, in her individual
capacity as s1 Caul_li$_e;lor at Al'rie-ildale'
Stste P.ri_son,

-KARLA. SUE _KIEFER,,_ in her
ind:i£»vid.u-a:l.-ca:pacity as a'Nurs-e sit
Art‘;end-zile: .Btate Pris.im,

_ISIRISTI ADD;ISON, im her
individual capacity as a Nurrse -a-t
A-rrendole Staie: 'PI"is sn,

`YHANA WHITWOR;TH, in her
individual capacity as s1 Nurse.at
A.r`reii dale _S"t`a'te= Pris Cm,

RH-O'NDA ‘-ST-GVALL, in her
individual capacity ins H.Nurse at
A»rre__n dale Si-i:»ate Priso'n,

PA¢TRICK AI{NOL]D`, in his

 

 

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individual capacity as a C_crrect`_ional -
.Ofi`icer itt Arr‘enclialc Statc Priscn,
CH`ELSEA GO.SS, in her individual
capacity as a Correctional` Office;i' at
Arrcndale Statc P-.z__'isom, `
JUSEFIN BRIZZLE,.in his
individual capacity as a Correcti`unal-`
Ot?f"ic.er at .A-r:rend:alc Statc Pris'on,;

_ WAYMAN JACKSON, in his
_:inélivislual capacity ssa Corl'c;ctional
Ot_‘,t`icer tit Arrcn\dalc Sta=tc- Priscn_,

STEVEN LEWICKI, ill his
‘i'ltd'ivid'lml capacity as a Corcc:_cti.o‘nal
Oi'fi.csr ‘a§t.Ajl-'rendale S.ta!tie Pr’istm,

_RGBER-’i` PRATIIER, in liis
individual capacity as a Ccrrcctianal
()i'i-'icec at Ai'rendale -S_taete Pcis'on_,_ ‘

MICHAEL ROBI_NS.ON, in his `
individual capacity csra Cci'.rs'ctimial
Ol'i'icer at Arrcndalc Statc P'ris-on,

C.RY'STAL TYLER, in heir
individual capacity as s Cu-rrcctiolial §
`Office.r at Arr_én'dale State Pi'iso:n., `

Defendants.

 

 

§UMMO§§

TO THE- ABOVE~NAMED DEFENDANT, AMBER. S'.TONE, in her individual
capacity las a Cnnnselor at Arrcn:dal.s S_tate 'P.riscin:_ _

Y'ou arc hereby summoned and required to tile Wi~th' the Clerlc of"said Court and
serve upon Pl-aintiffs"atl01n-eys, whose names and addresses src:

Lylc Grii`i`m_ Warshauer

lvlichacl_ E. Pérez

WARSHAUE.R LAW GRO»UP, P.C.
27 403 Bsrt' Ada.m.s Rt;)t\d

At;lan.ts, GA 30‘:33'9

Af¢a-rsteys_fi)c" Plain£ifffs

 

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Dari .]i. -G.h'ampio_n, Jr.

THE CHAMPION lFI_R;M,= P.C.;
2675 P`ecces Perr_y Road -SE
Swiie- 260 `

At:lania, GA 303_3'9.

Atmrneys for Plai:zii]?‘fs

Si'cln@y _M, W`Binstein' 1 '

.LAW UFli-`I`CE OF ‘SID`NEY WEINSTE-IN

Pcrst-fo"i.ce BU'X 1'10'51`3

97 licslie Siire¢‘c, -SH

Atlzmia_, G_A 303-117

Atiurrieys‘for le-in_f;ifj€§

an answer to the complaint which is herewith served upon youg Wi'thin '3'0 days after
lse|x:vice- of this summons upon 'you_, exclusive ref the day Qi` service;-'unfie'ss proof of:s.erviee
gf‘ihis complaint is not filed 'Within fij {5) basines-s. days of such Sei”'.»r;`lm=:w Then, -‘t`ime 10
answer shall not comma-mae until such proof of service has been .fijled. ‘ IF YOU F.AIL
100 1)0_8'0, JUI)GMENT B'Y DEFAULT WILL mi TAKEN AGAINST YOU link
'IHE RELIEF`DEMANDED ]N THE COMPLA§INT!.

ms _lfi:‘j*‘day nfMa_y, 2016.

D€Wi_d .C.. Wali
Clerk cf `Superior iCm-xrt

BCPW Cierk

 

 

 

 

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m mg SUPERXOR COURT w HABERSHAM COUNTY
l STA:‘_E fm GEQRGM

ANGELA amf JAMES FISCHER,
fn.dividually and as the -Guardians rif
MO.LLIANN}E FISCHER, an Ad=:ilt'
Wa rcE,,

P_i;iimiffs,

QE<)RGIA DEPARTMENT mr
CGRBECTIONS,

BQARI) mr REGENTS OF :{H§§ _ 1

UNIVERSITY SYS;TEM (}If`
GEORGIA for `GEURGIA
CO`KRECTI()NAL HEALTH€ARE,
a division Of AUGUSTA
UNIV§L"RSITY, `
COMMISS§ONER BRIAN
OWENS_, in his individual capacity as
the former Commissiwier oi"ihe
Geq)r_g;ia Depa§‘im;eni of Curr¥eciions?
I)R. BILLYN§CHGLS, in his
indiv`ii:iual capacity as Medicai
I)ix‘ector Of Georgia C-ori.'eciiona!

 

 

Heaith€arc,
I}Ri. EDWARD BAH;RY, in his

individual capaci€y as tile-former
Direc§tor of`{}eorgi.a C-or§'ec€imia;f
Heai_ih§a!'€,

'BR. SHARON §JF£"§?WS51 iii her
individual capacity ag the Mcdie:al _
_I}irector for the Ge.orgia §}epari:ment
of Cm*reeiions, '

KATHY SEABOLT., in her
individual-capacity as me farmer
Warde:z of .Arre§sda!a Sia£e Prison,

ANG`ELA GRANT, in her
§R¢§jvid neal capaciiy as the Warden oi' '

 

 

Pulasi€i Stjai:e Prison,

mine mm DEMANDED

CXVIL AC'Y‘ISN
FIL:§ N.O. 313th U-GM. c civ

 

 

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DR YV€_)N NAZAIRE, in his
individual capacity as thc former
Medicaf Dircctor ct Pulask§ Stcic
Prison,

BETTY RODGERS, in heir
individuai capacii'y.as thc Hcciih
Sfec‘c`ices Adminictrc'icc at P-cic,ski
Stc,tc Pric-cc,

7 ]}ANNY FINN, in his individual
capacity as the Diccctcr cf Hcmcc
Rcs.mirccs for Gccrgic Cci'rcct_icuc§
Hcali;i`:c'arc,

ALABA ABESHIGBIN, in ccc
individ.uci capacity as a Ncr;sc at
Al~;cendaie 'S'ictc P_risoc, -

"DANIEL WEISE, in his indivicl mci
capacity as c Nnccc ciA:'rccdcic Stc.ie
Pricon,

fELIZABETH GEE, iii her
individual capacity as c'€'.,"crccccicncl
QXi`iccz' at Arc'ecdfalc Scatc Priscn,

HANNAH FULLER, irs her
icc§iviéuc§_ capacity cs c Nur'sc ct
Arrendaic Si:ctc P_fc§co_c,

NURSE `PAGE,, inc §ch individual
capacity as c Nccs.e ct scchnd S`ccc_c
Priccc,

_AMBE`R STONE, in her icciivi§ucf
capacity as a C'ccnc_cicc cc A'ccccda§c
State Prisml,

KAR.LA SUE KIEFER, in ccc
icciividuai capacity cc c Ncysc at
Arc‘cndc!c Statc Pricon,

KRISTIABDISON, in her
indiciduai capacity as c Ncccc cc
Ar_rendaie State Pci_ccc,

"YHANA WHETWDRTH, ic ccc
individch capacity cc a Nurcc ct
Arrcicdaic Stci:c Pcis-cc, `

`RH{}NDA STOVALL, ic her
ic.ciivi&ual capacity cs a Nccsc ct
Arcendcic Staic Pc`iccn,

PATRICK ARNGLB§ ic his

 

 

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individual capacity as a C`orrectionai
O_fficer at Arrendale Siate Pz'ison,

CHELSEA GOSS, iii her individual
capacity as 3 C‘orrectiena! €)i`fice:* at
Arre!léale State Pirism§,

JUS’I`IN GRIZZLE, in his
individual capacity as a Co:rrecii`ona§ '
Of;i'l-cer at _Arrenda§e Siate Prison,

` WAYMAN JA.CKSON, ira his
individual capacity as a Correcti€ma§
Ot'fice¥ at Arrend ala 'State Pri§c.n_,

STEVI€N LEW§CKI, in his
individual capacity as a Cewrectionai
0§`£§4:¢1‘ at Arre`nda§ie `S‘€at;e F§”is'on,

R()BERT PRATHER, in his
individual capacity as a C’u`rreei§o'na§
{)fficer at Ax';"e_nda§ie State ?risem,. ‘

MTICHAEL ROBINS()N, in his
individual capacity as a Correc%iona§
Ofiicer at Arrenaia!e State Pris§m,

CRYSTAL 'I"YLE§R§ in her
individual capacity as a Correctiemai
Officer at Arrendal§e Si'a-te Prisun,

§Jc;fendants.

 

 

§UMMQNS

TO THE ABQVEWNAMEB BEFENQANTJ AMBER S'FQNE, in her inaividuai
capaci€y as a 'Counse§€ar at Arren_daie ;Statc Prison: _

Y<)u are hereby summcmed and requirecl to file With the Clerk cf'.sai'd Court_ and
serve upon Plain“iiffs’ attomeys, whose names and addresses a'r€::

Lyl€: G:r'iff§n Warshzzuer

Michael E. Pélez

WARSHAUER LAW GROUP `P C.
27 49 B art A€iam-S Rc)ad

At}anm, GA 30339

Asfaf@mej))s for Pl£zinfz:§}i`§

 

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Dari lH. Champion, J`r,

THII CHAMPI{}N _I+`IRM, P.C.
2675 Paees Ferry Road SE
-Sx§.`i"t:e 269

A'§ffanta, GA '3 03.?)9

Azzforneys far P£ainrif_zjr”s

Sici_ney M. Weins't€:in ‘ - y `

LAW §)FFICE €)§B" -SIDNEY'WEINSTEIN
P<)st'€)ffice Box '1 70513

97 leslie Stz?eet, SE

Ai:§anta, GA 3031'?

Atiorneysfor Piaint@

an answer to the complaini 'Which is herewith gem/ed upon you, Within 30 days after
Se__rvice of this summons spain _'y-uu., exclusive of tha day gaf se§ice; unless proof cf S@m‘g@
pf this complaint is not filed With`in five (5) business days ofsuch service. '§`hen, time to
answer shal§ not commence until such proof cf service has been filed. IF Y{)U FA_§L
TQ 330 lS(}, JUDGMENT 'B*Y DEF.AU"LT WILL B_E TAKEN A'GAINST Y§}U _FOR
THE RELIEF DEMANDE§} _IN THE COMPLAINT.

ms __!j:‘””dgy ef'May, 2016.

Davi.d C. Wa!l
C].erk cf Su;zerior Court

By:' ;MM., {*. UM
96qu Clerk

 

 

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aaa farm S.UPEaaaaz§a caza;aa'r aaa HAB£ERSHAM CUUNW
guam alia Ga:a)laa;m

Kn§§iviaiua;lly rand as abel Gu'ara§-iaaas~ of
M§;JI,LIANNE _FI-`-SCIIER, a_n._§aifu-}a
W'ard,

P'fainaiiffsi
' V‘.

alaoi;aa;ala QEPARTMENT azar
cammmlas,_

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mRHE€CTIQNAL mLTHCAR-E, _

a minimal ala AU@USTA
UNWERSITY, _ _
€GM=MISSI@NM Baaaiara

UWENS., in his in.d'§vi_dfaaa§ capacity as

the fowler -Ca)m-zxa.isséame.a* of the
G-ea)rg§§l .D-epa.a‘%m east of Coaree§io.n-s,

§}R §§ILL’Y NI€§§.€§LS, iii his
i_aaa§'ividu~al capaci§y ads Méa§i§§i
Bir.az,ctor of`€§ea)zag§a Ca)ralectinaaa§
H_az.'¢althcax.rei

mai EHWARD BAILM, iii aaa
individuan capacity las size former
Bix"na:a¢zr a)'f'f§’aamrgiiaa §§oa;¢a:a:aia>aaa?§_
H.e.azithc_are_,

DR. SHA-R@N LEW§S,_ ila her
individual capacity as fha Med§a::a§
Di_rea:aial.r far the Ge.a)ag§‘a §§e;zaram'eaxt_
of -Csorrea:fions, _

§§ATHY SEAB§DLT,_ in her
i§;divi:da`zasl- capaci;y as fha for-mw
Wazfale_n of Arrefnda§e Si:ate Pa"i's.am,

ANG,ELA GRANT, in her
individual capacity as the Wa:‘den of
Pu.!sa'ski Si-ate Pz"ismz,

 

 

 

 

 

 

 

§URY TRIAL DEMANPED

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Case 2:16-cv-OOl43-RWS Document 1-1 Filed 06/23/16

ZDR. YVON NAZA§RE, i§§ §§§s
i;§¢§i§ir§uai capacity as §§§§ §0§'§11§§
Me§ii`ca§ Di§ec§a§§ §§ P§§§§§s§§i St§§';§e
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` IETTY RQBGEK§S; §§§ §§§§”
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individual capacity §§ a N§§§s§ §§
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AM".B§EJR S’§"ONE, i§_§ §§Q§‘ in c§§§§§§§§-§§
capacity §§ a Ca§§§§§:§§§o§‘ §§ A§§¥t§.§§§§§§§e l
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YHANA W§§§‘§`WQ§§TH, §§§ §§§§§*
in_¢j§§vid§§§l capacity §§ §§ N§§§is§ §§§
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RH;O‘NDA ST§§VAL§§,. §§§ §I'a§§
§§§c¥i'§§a§u§l capaci§y-a-§ a Na§-§'se §§
A§_r§:nd§sie- 'S§a§e P§i§§§§§,

PA'§‘RICK ARNUL§§, in his

 

 

 

 

 

 

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individual §§pacity` as vi 'Cor§§c§i§§§§a§
O`fiice§ at A§§§§§§§§§§e. S§§§§ ,P§"§§Fo§§,

€HE.LS-EA @§§§SS, §§_§ §§e-§- i§d§v§;§ usi
capacity §§s § C`§§§§§:§§§§na§ §§§‘§i'c§§ §§
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JUS'§`§N G§§§ZZLEZ §§ §§i_§
i§§€§§vi§§§§§i cag)§§§§y §§ § C§§§§§§§§§§§§f -
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WAYM§§N JACKSGN, §§ §§§s
i§§;§§_§§z';§§§§§i q§g;v§§i§y as a C§v§§§§;§§o§§a§-
{§f§?ic`e§ §§ A§§§n§§le S§.§§je P§is§§§§,

S‘I’EVEN LEW§CK’§ §§_§ h§'§
individual `e§p§c§§y §§ a §l‘§)vr§e§§§§vn§§
()§`fiee§ §§ A§§e§§§§§§§ S§§§§§ §’§ §§§§n,

RGBERT P.RA_'§`HE§;§$ in §§z§§.
individual capacity as a C~:§§§ec§§o§§§§§ '
G§`fic§§ ai Ar§§§§§§a§§ S§ate P.§§§o§§,

MICHAEL R{)B;I."NS§§N §§ §§is
individual capa§§§§y §§ §§ C§§§§e§§§§§_§§§§§ '
Off§‘§:§=r §§ A§§§§l§§ a§e 'S§-§§§§ P~§';§§§§§§,

CRYS.TAL TYLE?R, in her _
inc§§.vid§§al capa§i§y §§ § Co§§e§.§io§§a§
§}§'§i'§§r at A§§e§ad§§§§ S§§§-§e P§§§o§§,

 

 

§§§f§x§§i:§§§§?s.

 

 

CGMPL§§§N§ FO§§ §i-.§MAGES
COMH_ NO"W P§ain§i§fs Ax§g§ia and 3§,§§1§§ Fi§ch§§ individu§§]y and as the
gl§§§'§ii_a§§s §§ Mo§§iz§§m§ F§§c§§§§ §§ asi§§§§ wz§§`i_ and file §h;is Comgla§§v§ far Dz§r§§§§g§s
against D-§§`§:ndan§§$ as foiiews:
§A§§T§ES §§§‘§§§ MRMICT§G-N
§.
P§§vin.§i§§s An§§§§§ and §a-m§§ §§is§§§x§§ are the parents 0§:"`!§§01§§3§1;;¢ F§S¢h=@;;

{“M<§§li”), and they are the duly appoin§§d guardians czf Mol§j:., Wh_o is an adui§ W&y;§.,

 

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Plaintiffs file thi,€§. Compl-gi;lz-t against Defendé;nzs to recover damages arising 331 3533
Severe injuries their daughter sustained When- she did not :récei`ve _praper 1333§33§ 3333
while S-lz‘"€é: was in the*eusmziy l€)f the Geo€gi:a__£)¢§arfm€a:\£ §§ Cgfr¢§?.$;:i®;ls at 333333;13 333
f’ri"$.'en ami }-Pufaski S-tm_e Pris:o'n:. As 3 resuk of rec`ei#¢fi-z‘zg_» inadequate med§eai _;1:31-"¢, 333 j3
some in$tan.ce;s no medical care ar 1311, Moiiz` ausiained igatz_sstrj@phic injuries tim haw l;afc
her in a persistent Veg€&ati.va gm-te, Plzzi`n!iff§ 3eer réiic_f um§e;r i;he G'eofg§a S-i;aie- quj
C§aims Ac;t find f€dérzil Sta;;umz~y and coastitu%i-:):m} _px'ovi'si"€>n-s,, §1zci'uding J§jghg;h 333
Four*teenfh Am::ndmen=ts to the United Sta%es Cr)nstitution: 42 U.-S.C‘_ § 3933, 333 33
U.~S;`C.§ 19.88.
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Defendant Gec)rgia Depafz:tmem. of Cc)~rfe¢tions (‘*GDC”) is the state government
entity for Whi;:h one or more state officers ar employees -Wt::e acting at the 'tim¢;é of the
acts ar omissions thai give rise 13 this Comp}ain=t. I'n parti-szzia;r, Mc)'!ii Was in 313 333;33y
of the 'GDC when s§ae w'aS denied adequate medical rcare,. and one ~:;zr mcer foic@:'$,
_ggenis, of empioy§ezs of the GDC Wez#e negi`igent in failing 10 provide hey with _.33333333

-medicaji sam Df:femdant GDC is, timrefore, the proper Defemimf€"zmd@r- D.C.G,A% § 5`{}.

21~25._
a. D¢fendant GDC san be sawed with procsz am its chief executive-
offi@@r, C<)m.missiczjn@r Homer Brys¢)n, af his miami office address, 309
Pa§ro'] R_o&d, F{:)z'sytih, Géoz'gia 3182'9‘ l 4
b. ’l`he .GDC mu$§ also be se;w@d by having iba D_ir¢ctz)r of the R"§s'i<

Managenwnt Djvision cf the Depaz'£mem of Adm§ni'strati`-ve Sex‘vicés

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Wade Daamon, S¢w@d at his usual affit;é addres's, 200 P'iedm,imt Avenue,_
Su:ite 12‘£)& W;@§z‘t 'l`z)Wez; Atla'nta,, .£f§=eoxg}iia 33334. _
A- cq;;y of the CQmpIam-t, stamped 'With the filing diate, -Wil;};- 333 33
mailed by gertified mail, r¢\:;zm receip? requested., m 1113 .(§-33;3§3
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Sq__u-aa_‘§, S*W, Atlan£a, GBQ:“g-§a 30334. A :aer€z"ficate" stati*gg 333 333
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date g&vez‘nm'@zzf. em§;`y thai is treated Wi‘t-h the gov§maz:@e, ¢mfr®i, and nzanag§mgm 35
Ge-<)rgia’s public colfeges and univers`it§es_, i`n:c?uding' Azzgusta ` Univez:si-cy. §§3333§3
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emissions that give rise-10 ihis C'sz§p§a£nt, ?n. par§icu§a'r, ‘Georgia Corremional- H'eai.zh,g@y¢
provides medica§ Se§rs_/icss 20 inmates in the custody -<:»»§i" H;é' GD'C, md 933 33 -3;3;3
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Geoz*gi'a, 2’?’€) `Wz`zshin_gton S`t:&et, S;'W, S.uit€_ 8062, Atlanta, Ge€zrgi_a

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D:zfen§ants GI}C and Board <)T`Regents are being~su§d under'fi)e S`;mg;@ '-{Grt Cgaims

Ac:t_. .As required by this A§:£,, Pfaintiff‘s gave written noti_.»:-;@ gaf f;h_s _c;}ai_m against ihs _Si;ate

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*Z`he GDC owns, operabes, and man-age$' Arx'@nd&le _Sta¥e;P_r§sQ-n i;»n A}*tg, Hgahgrghm
C?Q:zn:y, Gec)rigéa; m-?Ié Pzi?a$ki S;:z,te Px~'isén in Haiwki-:?isvil].e', Pu§a$ki C;)unty, G§€zrgia,
Which are bath wozxaezz*s ;)risons..'l’he GDC is §-e-g_ai.iy responsible far prwi<ii:ng m¢§i¢g!
cwareto inmaie:s in the custody of its correctional faoi'lities. GDC unded:ook to prgm?;§_@
maxim case to fimn§te:s in its c;z;s:ody by conirae;:ing Wiih Qe<§z§gia CM;;§U@;-
`I>§@-a!ih';:ar;z, a divisng of Angus;a .U;aiyersity_. At ali times re§ex>'ant to this ag:_té;<zn, ‘G€-‘»Qrg'§¢&
Cn`r;~eot§onaii Hea!thcaa~e provided heai€hcare to inmates in the c;;;z;:g_§y §§ 333
sensational facifitics. A£ aI~I times r@iwmf -t<) this acfi'<mg a aned§@al p.zfo'vide§-pai;§¢gi
rei'ationsh§p existed l:zgimeei;; -M@Ji=i `Fischel“ md GDC., Ge§a§igi§x 'C.oiiresfsiona§ He,a-Iz;};cg,r@,
and ‘?£he individual agents or employees of each of those entities that W@re mmi:§¢a§ n
providers.,

61.

Dcfendants G‘DC' and Bc:)a§d atf R@genjts are being sued under fha S'téf@ TQI"€ C§aims
Act for Sia£e law ncg§-i-gence simms tia-211 inuiud@ aliegzations of professic`)na¥ mg£prg;;§i:¢€_
Pm’.suant m G.C.G.A` § §~`11~§,1,, ana-shed hereto and _in-Qoljamrat§:£§ izy wefm-emg 333
EXHIBI,T `B §§ the Af‘!i.davi`l of LaW-rence H. M@n-tiel, D-.O., VAACP, C_{;‘HP, who is
qualified exs an exp@;t wizn;es:z on tile issues raised in the C'J-om;zlai:z¢€* §Dr. Mendel"g
Afiida-’vit spécif§`e‘s at E@a§-t one neg}igent amf or omi$s;'{_m can the pari of .agcnt§ and
employees of :he GDC and Bozrrd- z')~f Reg€:rztsz and the facial-33 basis that umiier§i@;sj the

negligent ads <3:“ Q'migsions ibm resulted in injuries to Iviol}i Fis€.:`he'r.

 

 

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7`.

Bz'ian Owens is the £t_)mnexf C@mmi"s-s§oner o.fth-e “GD'C, and at all times witt/ant 139
dais action he was acting ha that watts md stage off his empiDym:€ttI-t with -th@-, QD§:; has fig
Comm§ssion&t‘. Deft:nda;nt Owens is being sued in his individual capacity,: De:§'hmgagg
.C)W¢nt may §§ \_S@W€C§ With Summ@ns and Ct)tnp§ia'izit as aiiowed.by `_L=aw.

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§Dt. §§in Ni'chcz}s is the sftattztt)ixie Met`lt`<:_a‘§' D;i't-‘ectgt f"cisr G~@o;rgia Cotze£:téoga_al
H_§:aith'cetrc and has Sez“ved in this-1013 since 291-2, and at a}} times 'relevantto this @G;i@n
he Was alcth in the atm-rsc and scope 05 his employment Wifh Ge‘ergia Cgr;-@Q;§.Q;;g§
Heea}thctn‘e 35 _fh;_€ Meeéi¢a§ llire.c;tt):r.. D@fendant Niciat)j§s' is being sued in his individual

capacity Dei`endtmt Nicho£s may be 'servéd with `Summc>ns and Compiai:nt as aB-Qwe'd by

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Dr, -Edwart-i Ba.ifrz>y is tim §ot‘:m_@r §ta£ewid@ Mediic@;§ D-itelctor .ft)`r G:wrgia
C'orrectinnal H'ea§thcate, md at ali times relevant to this acti&n he was acting in the
course ami scope of his emp§@yment with Gt~;;)rgi_a }C@trwtiu;aa_i.Hca}th_ci€iz=t; as the Me;:§ieja§
D§r¢t:t`<zr unin her retired from the posititm. in 2012. D,et`,<§ndant B.ai`§tzy is being sued in his
,{néivi<:htal sapa€;,ity. Dt:fet;dant B.ai}ey may he Served With Sum§fn<_ms and Cc).mp`iain_t 33

allowed by law
3.{).

I}efendant Dr. Sharon hewitt is the hiec}iz;a;l Director for the GDC, and at 311 tim§§

relevant to this .actir;m the was acting in the c§)wfse and St:t)pe other hmpiit)ymem W-i§h gh@

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GI§JC as its Me<§ic.a} Diréctua'~. D@f@ndant ,Lewis is beng sweet in her iadividual capat:_il€;n
,Defend'ant L.ewis may be hen/ed- Wit`h_ Summons aged Compia§ni as at!t)'w=eé `t>y .i@.w.
fl.

Kathy Séabr)lft it the -fc)zme; Wm'den'ofAr;endaIe State'Pr§$t)z:z, a'€}DC cortt¢f§@n§;
facifihf, and ali dates r@ls~vant- to this action':she was -ai<tj;i-ng ill the course ami shape snf tim
.¢;zztpioym@n'f with the GDQ as that -Wa;-rden of Ar:rerzda-¥te 'Stttte Pt~'ilstm, _D¢f@gmt ;SUL-Wk
§§ being sued in her individual capacity Defemian§t Seabo?i? may ‘b"‘f= ;S¢I‘V$d with Slimtz:i`cms
mud Ct__)mp.§aimt 213-allowed by law,

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Ar;§gf:lti- firrea-hi is the "W-ardetl of Pu-§tislt§ 3121-te Pr_isc)'n; a 'G;II>C comeciiahat famiin
and aft times relevant to this acti¢:)tz she was acting in the course and shape §§ her
emp§oymenf With the .GI)C as the Watéen of P.:zias.£ti St`ate `Priso_n-. ll}efe;;¢§a]g; G;,;§m_ is
being sealed in hat individual sapteci;ty. Bef`e:ndant' G_rtiz;_t may be -s¢rve'd Wi:rh Sum.m@ng mm

C<)mp§aint as allowed by iaw.
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Btz Ytttm Nazati`re= its the fenner Me£iil;ztil Dii‘tz§ztm‘ tri Pul;asi§§é§ State Ptfi;BQ§;l, and atf a-H
times reich/ant is this action he wet acting in the caur.s'§: and scope of his emplo§!mt-:;;t
Fwith Georgia {?orr€.ct,iena§ H@a}thcaz'e 213 tim _Me§§ca!i D§f@ct@t at Ptzlaski §§th Pgig(;;.;,
mirandasz Nazai'z‘§e is bitsng Su@d in his i`i‘:di'v`idual` capat;ity_. Defentfttht N'az-airé_mgy be

termed 'wit.§a gummons and Cozl“ttzi~ajm as allowed by law.

 

 

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14.

B::fty Rgdg@rs is the He&§tb Ser*vic;@s Adminésira§oz~ at P-u~iaslii S£ate P-*riS-Qn, am §§
ali zime§- r&le§»'al‘z'i; w this action ashe wax eating fin the course and -&c<>pe \@:fl`° 1143!" -@mpl?¥m¢m
With Gec:)j:g_§a Cm=“€zctiona£ _H€»<alih<,:az‘@ as .t§:'\e H€;alth -S€Wic,es Ad'mi;tzisira%of at P':.z;§fasi<:i
Stafe P.rison. Def§ndan£ Ro'dgcrs is wing sued in her individual eap&eit;y, Befb§_¢i@;
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I}_an-ny Fir-m is ihs Directfzz' of Human R@Soumes far G§g;zgia C¢_;,H_-¢;;f§§my
'H%altf:care: and at ali times re§eva,nt fm this a¢ii<)n he -Was aiding ira tva gauge grid `SQ.QW
of his emp'l@ym::nt wiih Georg;ifa §I,`oxrxzc`tiz`);nai Heézi'thca¥€ as its §§i:'e'ctor z)'f Humam
Resoums. De§end~ant Finn is being sued in his individuaf .capac:ity.. Def@ndam J.~`in-n may
be served 'with Summazzs and szl§;p}faim as allowed by I.aw.

1'6.

Af;aba Adeshigbin is a `N`urse Pz"actitinn@;‘ at Arr@nd_a'iie Smte Pr?s@n,_ and 311 .t§n:§e:&
relevant to thisl asii<§n she Was acting in the icmxr§e and SGc)p€ of ibm emp}oyment with
{§-¢zorgi`a Cr);~:z'eat'i~ona} Hea?lthc_are 33 a nurse at the §;;-:'ison-. D@§¢nda;x£ Ade§h~igb§n_ ig_‘b¢§;lg
sued in her i:;.dividz_zal Qa§a;ei-§y,. Def€m;i:anf Adeshig¥:)m may ve seemed with S';uqu-QH§ ami
C<)-m'piaini; as aliowsd by kaw..

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Dzmi-el We“ise is a nurse at Az'rendafe S£@£@ Pz'ison, and af all times re§evam m mfg

action he was gciing in the course and swope of his emp?c)yme§£ Wiih G_@@rgig

Cc)i“r€€i'i<)n€z]' He::al:hca;‘€ as a nurse at the prison Befendan'i; Weisc is beng aged §;1: his

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i`m;:iiwidual capacity Defencla.nt Weise may be sawed with Summ§n-S and -Cgmpiaim as
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GD‘C as a carr<z@;iiouai Gfi“ic@r at_zhe §r.ison. De£@ndant 'G'ee, is being sued in her im§:iqi;;u@;
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'Coifr¢z:;;iionaj Heaith@ar@ as a nurs€ at 1316 pris$n. .`I_I?e;€`¢mdam P'ulf-éz' is béing SHE(; in mr
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CO!T@C?Y‘OHH] H¢Hf¥h€&f@ `_HS ft nurse at the Prison¢ N`zar,$'€z Pag;e: iS being Su'ed. in her

individe GBPM£W, Nurs;e Pag€ may he sawed with Sam'moz:s and Cgm_p;=gim 33 -M_QW@G

by iaw.

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21.

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I?’TOF@SS£QH@.IJQQ:QHSCIOF at the pri-§on,§ wien-dant Stonez is being Sued in her §Hdividl;§l
capacity Befc-:§:;d-an-t Si‘mw may be served with S.vm_m<zns and ‘Complai'jm'a§. allbwe:i` by
-Iaw.

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Kar.§a Su.;e Ki@fe),§ 'i‘s a umw ali Ar§<»:n;ia§.z S.§az'e Pri_§.;<)n, and at 311 timm IB-§}WUE w
'iihis action ashe was acting in -th`e cows:z and saope of her arnp-I@ymgn';_ With _Georgia
CO£I’€Bfi-G:Hdl H@Hl‘frhcare as a nurse .;a¢: the pvis<m. Def@xzd§mt Ki€:'fer is being aged in hay
indivjdlmi C'RVQC`HY~ D§f@Hd-&m K'i@f€¥ WZ‘)’ be 'SGW€.£!. with Sum'mons and CUIDPI-aint §§
ail=c)w@é by law

\ 23.

K-l`i-Sfi Afi'<i'i$ox:zi is 21 nurse at Am:€nda§@ St@t¢ Pr.ismg, ar;c;l at 311 €ir;r_;es 're}eva;zzt to ;§;g
action she W_as- acfmg in me mms@- and scqu: off .izér mpl§:)ymem With G¢@§'gia
C;)rrec£ic)n&`£ Hea}thcauje as a :zurs\e at the pcise:m. Defend`ant A'déisozz is being sued in her
individual capacity .D@,fendazzt Addiso_r_l may be -Served win _Summons and -C<;)mplaizzt as
alibw'ed by ,'[#'.»W.r'1

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Yhana Whitwor§;h is a merge at A,c:ren<%alfe Staie Pri_sen, and ar ali times mimwa to

ghi-5 action she W@S acting in f;hxz course and awpa of her employmant Wii:§.:; G¢@y;g§g

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§“',‘ozrecti<mai Heal.thczrr¢ as a nurse aff the pit§son. Defmadant Miiwoz~th is beng sxa§d in
§z,er mdividujal capa¢ity\ D§fendant Whiijw-Qr-_th may be S¢We=§i ;W:ii"h Sum-m;§§ns :a;ri€i
€-Qmp-Zain: as aligw@éi" by iaw. -

2-5.

Rh-on_r§a. S:Gv@él` is a name at A.;“renda}e gram Pr;is:c_):z, and at ali £imes relevant to
this action she szs wing in the »e_eu:.~$,e md S'B-OP€ rif h$¥ ¢mp'l‘@¥m$nt with Gemg:a
C-Orrect.ional Heaf§ac§re as a mass at the prison IJef@n-<iant §§0\/@11 is being -‘szmc;i- in her
indi"§rieiual capacity l§e£:;ndant S'toval! may be served with Sunumns and C‘ompia;im gas

éi_lowed by iaw..
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Pa£ri`c¥<_ Amoi‘d is a eorreczti§)nai QtHcQ-r at Arrem§ale State szism§, am alj rim@$
relevant to this action ‘he weiss @Q‘xin_g in the `;zqurse and Sc<;z;‘)-e of his gmpi§):yn§em_ with
UD'C ag a correcii@mi offix‘;€z' at the prison Bei`endant Amold is being sued m his
individual capaciw. De§endant Amold; may he Smed with .Summons and Com;>ia.inz: §§
z)..H<jwed by iaw.

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ideth 50 this amen ama Was amng in the course and scope §§ her ampi£)yme;zi_ with
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ai§owed biy law

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iusf‘in `C§ri`zzi'e 'i_s a vonecti@néi -ofH¢ar at .Arrenda'J-e S$&te Pr-ison, aRé-a]i` times
weievam m fm action he was aciin.g .in tire sour-se and 's¢€:q'p_e Qf`_ his §rn;z§¢ymm Wi@-h_
C:}DC as a Q@Hectionaf officer at the pyi'son.. D£zfendam firile is `b§z'ing s;ggd in his
individual capacity Defcngiant 'Grizzl'e may be _Sewed Wii;h. S=minmmas and C{imj:iléi`nt as
-a§iew@d by IaW-.

29.

‘Wayman Jack-sc:m is a corr@ctionai ‘a}ff`lc'ez“ at A£r@n-dale grams Paris§m, and ali iimes
wsi-want to this action he was -aotii;g in §1¢ emma amf 'Bc{)_pa off has ~mp;@ym@m W§-;h
G‘I)C as a correctional officer ai the p_é*ison, Defendant Ji&ckscm; is being sued in his
in;v;:§ividual capacity E)e;f`endant lawson may be served Wi'i;h §u:amo.n:z and Comp_}a;m 33
HHOW€§ by law

`3=€}.

Steven Lewick§ is a correctiona? officer atl Az'z*endale State P;'is{z':n§ and all times
r€ifc‘?'~/am 10 this act-ion he Wa`$ acting in the gomrse and SCB;;W of §'1§3 employment With_
GDC as a ceirec£ic)nal foi§`i§z@r at .the- pri'is{m=. Defc.z;ndia:';it 'Lew;i.€.iki is being sneed in his
individual capacity .Dei"end§_z;zt L_ewi.e;ki my b<:_ se:v@d with S~ummons afan Com-p§a§ni_§§
H.IIQW¢:¢:E by .ia\an

31.

R'o`¥:):zri' Praihez' is a_ correctionai officer at Arrenda%e S-mte Pxisc)n, and afl times

refevam to this action ha Wa$ acting in the marina and accsz offsz gm§;,:;@ym_€m Wifh

GDC as a correc§i`<mai officer at the ;::»;ris»c:»:'zn Defe`§z¢;¥a,m Pr&t`-her is wing sued in his

-14.

 

 

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Bidivi€fll'@l capacity Defend-am Prazher my be served ?Wifth S.ummcms, and C;)mplaim' as
a`l.i@’»‘.wedbylaw. 1 dr q
32.

Mi;:ha§l R€>bfnson`ifs ar c-Om@$z§.;g;;¢'aj @j>fgcer ag Amnda]€ Sme P!_is o 315 and M_ dm€$
r¢ievanf fo this garden he W_a_s acting in th¢ .GQUS@_ and _SCOP& ON}§S gmp;@ym$m Wfth
@DC as a cwm.<:ti§nmai officfer at tile pris€)zi. D&':'fendam Rdbizx;s@:z irs "wing S¥€d in his
iadi‘v'§df!&l capacity Defe:ndam Rob`insozz- may be served Wi<t'h S.umm{)_ns and Com' -Ia;"i; `
allowed hyiaw._ 7 v P in as

33._

-Cl’ysta! "l`yler\ is er correcti;@mai QH§,QQY m fmcan Smw Prjsona and an iim€§
lig-avant to this §c¥.i'€)n she -w;».z.S acting in the course and scope of herimp]@ym@m W§_i,h
GDC 35 a CMEUOMI Qf&c¢r at the Pr§$°n‘ De§e”dam T§"Ier is being Su'e»c§ in her
individua} €H`PQG§¢§" D@fendan?t Tyfe`r may be served wi~;xh Summ@;¢;g and gamp}a§m. as
allow-eci by faw_, - -

_ 34..

’Vc:zxme is pi‘z)pez' in this C-o.;mt;f and C<:)un.'

351

Piaimiffs §¢&§163'€ am i“‘-MPMW by YQYEF@HG-@ Ph@ f@:€'§@i:n$ P-aragraphs as i§t§)@§'

were fully restated 'v@rf>a%i`m H@reéla. -
36.

T'he problem -Qf madeqz.zam medical care §c)r inmates in the Georgia prison Sys_tem

,]_5-

 

 

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§§ -xziciespr-eaci. Fema_f€ inmates, in _;:)_a;rticular, have bel-en .subj'eéted' to Sb%$;§n§iard,me§figai
cafethm -is afa lesser quai`i'ty than the medicai care thai male inma%c;s ree_eive.
3"?`.

fin 2014, at least one in evéry five physicians wark§n.g in G¢orgia”s grimm had
`§}H@I)'san.ctiozmd by a stats m@di<@-ai board for some farm 0£` m¥s¢onduct. Wh'»ile 26%' of the
;§.¢c;toz's marking in Georfg:i:a_ pris_£?§?$r in 2914 had an adzz€z'-se .m§dii=),a] bsz;a.;'z§ safer zgai.jgg{
them amy ZA% of`the general._papm-iatinn of l.ioe.ns‘e¢§‘ physicians -h'ad ever had a §§mi:}@¢
wider issued against them Despi'fe ;hiriizg physicians wish 'qil¢$fi`§)na;hl;e pa§,-,;g€ _i;he §G;;;Q
arm Georg.-ia 'Cm:se<ztjcmal H.e¢€l$hcé;z‘e ;)r@vi'de @ia]y .Ijmii@d Wex:sigh% §§ :§;zdiv;{§u£;]
'p§:xysir;ia.ns Worl<ing in the mate prisor;s»

` 33,

One doctor in pmicuf£ar,_ ’I}r. Yv<);z Naza_ix.'_e, was the subjth of`-a December 2£}(}.4
Consen'§ Agz’eemcnt and Order imm ¥he 'N¢;:w' York Board for Pro§essiona! Mi§@<)zzdzac;-
that found he cmm'n-i'ite§i gross zl¢g§i§ence in his evaluat¢i-on, diagn:@sis., and zyea;meg; 95
fdic emergem,:_y main pati¢nis at a ,N@W Yogrk hospii&i. Bas@d en his» mfuii'ij:)}e' acts Qfgr;z_ss
neglijgence_, the N@w York Board'pla<:ed Dr. Nazai:r¢::- fm proba:i€zn for three y@érs. As iam
of his probafi€)-n, §§)`r. Nazaire Was on_iy_ aik)vved w p`:‘acfi<z@ medicine Wh;i'le bei'ézg
anonimer by a I'i:cen.sed, hazard cenified _;:)h.ysician.

39

Despite the sanctions from the ,N@w Ym'£<; Board, GSorgia Corrc:c‘iion.ai Heia§fhcare,

through its Di.rcctoz* of H'uman Rcsources, Defz:ndam; Dax:z.ny Finn, offered 1312 Naza.ire a

positi€):z as the Med§ca§ Direcm)r at Pzzlas}<;i State Prison a§i`ective S'epfember jj 2@9§__ A

-15¢

 

 

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wondi-tion of the off‘§r Wazs the sneeessfiz'! -Q'<_)mp§;e-iian of 1315 “:ti.zH credentihlwg process m
i";:l»ci!usi'e but nof necessarily-ble I`ilmiieii` rio ike ft).lfew'i;ng: refers-nga chaeks_, ba@kg!f&find
checks, vc;~)ri:fication \Q_'i` Ii`ce:;asure.. . .""

40.

Dr. N&Z,fii.re_ appaz“:§nt§y compf¢tec¥ Geergia. C¢jrr€§)tima;ai Hpealt§m@,re’§ ‘*f;;l-!
crec`ien£`ia§ing process'_,"’ as he started his job as the Me§icai ijim£:t€)r ai Pu§as!<;i ,S.tase
_Pri_s-Qn in Sepiem`ber 29(56. Bcfenéant P.;i‘;m and .IJe-fend%:m' Dr. Bai?i-ey, tim giaigwj§@
M£;di'l&l Dii'€c;tor for G@szgia §§rrec%§o;zal .Heal_t§icare in Sj¢;)tembcjr 2,-{);{)6,_ _;j;d I_,G;; amh
amy specia} conditions to Dr. 'N&Z&i:re”s- ability to pra@tice medticin% at P-u~`lfaski ‘Sm,x¢
P-rison. Jnstead, D_I‘. Nazai;fe Wa;s -a!}fowed to practice mlsdic;i:';‘i"@:F at Pu-Ia-Ski. S-w_g@ Pr§§gm
without being supervised by any licensed physicians, and ridb'r€zd-y c,@qu-ir_¢;§ mar Dy
Nazai-re comply with any atf the tamm and gond-ition$ of the Ncw Yerjk Boar§’-s Consem
Oz:d-e§“ aisd Agrcc,mcnt.

4].

' Fz'{)m S_Sptem¥;)`m 2396 until his wmzination nine years lam in Se;:)tc~:-m-b@r EOIS",
Dr'. Nazaire Wgrked ag the Meé§<`;:ai I}iré€;t'or at Pui'a_.ski S‘tme Pr§soza. L}uxing mm ;§mga at
west 15 women din in custody Wh-ife mosley Dr. Nazaire’s care, ch}u_di§-l_g at fea_:S‘t I`I in
the last :Hv@_ years Qf._h:"s cmpl»::)`ymem_, mud an additional five iH§in-'ates from Pu-Jask»i --Sxa;_¢
Priscn d'ieé!` within months of hem-g transferred 10 other facilities or rei@z;:_se<_i due m the
seriousness of their medis;a§ conditions. N'evez'?:he!ess: D-lz N`azai§'e’s annual reviews by
Dei`eridant_£}r. Nich@fs, D¢fcndémt Dr, Ba‘i__isy, and Def@ndant Rcdger‘s remained .-largczjy

u.n\cbang€:d. lin faa-212 nz§ny of the “com;:r;ts?’ in the rc;vi;'cws Wez'c simply mp@at@d

,;?-

 

 

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wefimt:m m each annual review regardfess <§f the identity rif mg pgrson__wmple¥ing the

z@vi=§w.
42..`
111 -Dea:@m.ber 2015, D`I; Wi}iiam sziio completed ar repgl~i_ at the .mques-t BF. the

B-gard c':-_f R@gez;i:s and Ge;€>:‘gia Cc;rreci£»;mal §§ealthca're. Th'e ;@pér;; was M¢d @¢Remw mm

Pz“oc»:zsses ».ai Ge;orgi'a C`Qne@‘:iona} H_e&l§ihcare.” 111 his r§por:, 1311 me `anc}uded tha;_

. ¢ _ . 1 ._ _ , _ _ _`
there We-Fe ‘SYS*‘»@UIC ZSSHQS” W!th the '-me&waj care P!’Qv'i.é€*»d to inma.te$ and dam fhwa
, `_ __ g .4 __ . _' ‘ f - ` .
garmon sy‘st€m.,°? Ij)`r, Kant£)_’s if€;§£¥l'i l;&?;zd§zc'f file fr`;¢:;;a§;§; care pmymed to mate pri_qon€r$ wl

Geergia C-ere$t§o_nal Hea!tbcam, but concfu;;ie¢;;: mm w[u]n§mwnaf€ly, there is mt a

similar syszl"em for fem§a§@ mmat¢s.” Wi~;¥:h §'egard to Br. Naza,im\, ;Dr,, Ka-n-;i;o mem “it is
my opinion than an balazzc'e., ,Dr. Nazaire’:s S€_z.ir:dard -ofpra;:-t:i-ce fc:I} b.e£€)w sm acc-cptabie
stan david of care fbr pa€iczzrs Who axe- ia`carcerated,”

43.

Unf@rtmmfe*}y- for Moii§ Pischer., on Ma,y' Zl, ZG-"I-€&, s'h'€: entered this prison Sy§g¢_l.n
that was r§i`ie Wit;§z. mag-3145 al 'Wea¥<zwsses mad syst@mi,o issues in me d¢;f;ivery ofme£iie:ai care
and services to famaie inma:e§z, Whem she cri-fared mexzdai@ S”s`ate Pri.s.s:)n on May 2}_,
2014, she was a onmpat¢nt, Bllly ihn,;§zt,i<)n'in;g adult When she 1611 Pu§aski S.tz_zte: P:riscm in
an ambulance fm Ju.ne 3-0, 2014, she had suffm*eei a hypoxic brain mqu as anzazs;;jz cf
inadequate medical care, which has '.i¢£ lam in a persistent vegetative _$-ra_€e._

44.

Upen being trensfera‘ed from Ra'f:-tm Cc)zmty Jaiil to A;‘:f€nd&l€ S£'€:§e Pr.isen on Magy

,18-

 

 

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K.I., 2914, M<Jli'i W§\S assessed during herd di.e;gn.§s¥iic intake, and she Was¢repn;j§;ed fr__z,§;av@j
numerous width prob}efns~ and -shze n¢;e.§:l she 'Was having ¢h'ill&.
45»
D@f§>nd@nf iS`mne perfo:'med _a mental h-eé§th.evaiuaiion 911 M'oi'l.i on z§_;;;~;.m@m§m-jg pf ~
May 21', E'DI'A~ and 'niz’i@d that Moi}ti_ wm anxious delete mmerz:zu§ m§di.@a£ issgeg, and that
M:<:)Ililzad a his_tery' of d_eprc$ijsion. `
45.?
€`m Mz;y E,’.?;3., `2£}14, De<f’¢ndant Ade$higbi;n evaiua-_fcd .M@Ili in the medicai un§:,

Molli reported she had passed -01;1 twice and had experi@z?zceci vomiting, tii#z`zinczss$ ahi»}“l$!
and `astij:m-z;, Def`@_m;iéni Adss'higb‘iw ordered lab work to be cempl.¢'te;_i. ibm days ;.aier_a_m§
pre$;:ri;f:»ed Regian, a m-cdi;sat§on far acid 'zfe-f}u‘x, 'i;o treat her V@;niti;ng and dizziness;, and
an whaley far asthma.

-4’-?,
Cn May 24; 2314,§1>$§‘@;1€§3§1‘& ‘We.ise evaluatch MQJI'§_ in the clini.g at ap§;mximg§€;y

‘3:99 p.m. M€»}Ii was sompia=i-n-iz:lg of mu`££§p!:e pro=‘iz-Z:em;s;? blm Nurse "We§se s;uspe?c€efd them

Molh‘. was faking her ill.ne:ss.

J£S.
later in the day 'On May 24, `ZOM, at appfoxiz:nately 6:45_ pam., Nurse W@§g@
assessed MQIH again for shortness of bzea¥;?). Moili’_s blood pressure was 12_4/7_§,_`§13r

tempeyamz‘e' was'%, and heir oxygen lz=zaiir;ra€l:i‘c)zz Was JQW at 95%. Nevertheless, N:,;;»S¢

Weis:e instructed M':i)fli to-“noi fake §11;1@3$.”

uqu

 

 

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49.-

011.1. .M_Hy 2‘5, 2914§ at 6`;:15 aim-§ MI)II.§ was found ma the flow half naked,
Dez;£`endam Amold- reid Mo}ii to get up and get dressed, but MOili reSpolz;de€? she sam gm
because she was s§@k.- B@fendam Amold hifQH-Yieé `I`_`}¢fex~?l€ian“c G@€: Qi;f hi§ mismasz with
walk ` m

5‘{}-\

f ` pit approximater 19.:.0»!1 a.m. ca `M_ay 25, 2014, Defend_ant G,¢e cmfe;yr$§ -W:§;;;
fDefen&,a;;-i Si<)ne and infam§d `I)e§`;endar:;t' \Sto;a'e that Mc)lli Was 'iay'ing am mg now mfg
had uri_nated am `Iaerseii". lDe:f“cndani G§e told Defendzmt Sf:c);ie- that M£zl`li had been at
madicai on P.z‘i§iay but they coug.d riot ond anything wrong with hara Mofl`ii"’s 'uriz;e was mt
tested for in'fecticia.

51,

B¢‘fW§-e'n ?'{):{34 a..m. and 19;4(} a;m. on Ma.y 25, 2014, Defez_n;i&n;~ F¢;-L§'¢r
r¢@xamin§ed Mo'§l§ and i";mmii that Mol}’i 351-aga Smafli amount of blood §n her m;-M§L wiggng
rei’izs@d. m answr §ricniatimz qu..;m,»tion-s: and officer `i-ns.§:m_c:ti_onis,- }“_§)M`¢n;¢;_am F;;j;¢y
informed Defendan=:- Szeane>, who zoncfz:ded that Moili did mut frach a :m-enta,! health issue
and thai she &hbuid be sent m JQCK;IOW;; far f%ai'»lu_r<i: try fo}l'ow i'ns£ruc:ijions.

52.
t Between .1(}:€?4 a.m. and 10::4§ a.m. on'May 25, 2614, prior fe .M§»'Hi bei;zg fczrcibiy
ngade to lockdswn, Hefc:ndaht Kiefe;' assessed Moil'i’~s conciiii_on and noted her skin Was

Warm and dry and her respiz“aticms un}abored.

"20.

 

 

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_53.
C}'n May '25, '20;£4, at a§;epro;cil_n'ateiy 10:¢§{`) a;-m._, physical force was use;§ to wave
Mo.l§i m a segregatisn main .Mfo.iii was unable w stand dr umw jon her Qw;g, 'I;zgg~§;@g 1113
p-§zy"sicaf rem{)val. process, Mc)*l}.i ms iif£ed_by' her mm behind heir back she was placed
on az refing do§fy, and she Was thr/;:»WH ita 'fh.\e ground
542

Atf:`ter 3]:1¢ Was, fomi¢b§y moved to a s§g;'¢_zgazion vm-i:t, I)efé{n.§§;az;t 3£,§§¢§@1.» geagg@$g¢§

Miolki ami detennined thaw was no eharlge in her cond`§ii@!:. Mu}i'i"a exyg;m W;M§@@
_was recorded as 94%', which Was abnormal.

551

fin Ma_y 25, 2014, ali appmxi-ma£e§y I }:,ZS a.m,, I'}f;;€?end"an§ lege »';zaf}eci Nu;:g¢ Tg;;i=
Mairan.da §Frank§,zm~S-hookj,_ a mims at the Rabun Csjz.mty fai.f, Wh;¢i'r¢ MQ§H had previ::)usly
.s;ayed bet-broz beizzg' €mm,;€@r;fe.d i:f) Arrendal'e State Prison. Nurse- §rankum»$hoak ¢:“e?-W_aye¢:il
m \Defend@nt Page that alm:)ugfz M<:)Hi had problems -coé)peza‘cing- cady in \§a@r‘
incarc@.rat_ion_, She had never experienced incontiza@n;z€, Nu;rs~{z I?fazlkum‘.Sheok off§:z‘ee;l ‘£;0
send M<)U:E’:z m edical recez‘ds, but Defen dam Pzzge rejected the offer..

5-6`

Qn May 25,- 2'§)1`4, at approximated 6;0’? p.m., ‘Def€m€fant Add-§S¢m yevi\gw{g;d
Molli"s pf-a§;¢ment in segregation and somewde there \#€:r;z no medical c'<;)n_zm;n£;;¢atim§
to Mol§i being haused in Seg;~egatiora..

' 51

On May 26, 201¢'%,, at approximately ”?:35 p.m.._, De§"¢_»:aiiam .R,us's_ell zeparmd to

..2§_

 

 

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Deicndant' Whitwoxth that Mc)§!li had nf¥t €&t_€:n_ in two days, wa,§ Iayixxg 'tl:i:.¢; f;Q{;,y, Was_mt
ija;hing, and Wa$ Ve,-rbaliy unre$ponsive. Def@nc`iant X_Uhi_mmh .;;i.@_gemijzge;§ this behayim~
m bc“n-Qt`u:mlSu-al” for Mc)¥fi. l

_58_.

911 M@§* `2-?- 2@1‘¢~» at -@ppr®:§mw§y 539-5 a.m.,__ £)efendgn: Russe;'§- mma wm

c@ve:€d in faces. Dcf’@n.dant Ru-S.s_eli re:;;;<)l:téd to Defend.ant Whim@nh tim M=Qm had
- de.fecated and ~sm§:`a:‘eé feces 031 her arms, Defimdam Wijizw<m;h gtg.i;¢d that She_ Wg-L[;id
23ng mg ig¢id@m. 33 D¢Y@Hfianf 3120le 19 CII`SGBB;S Wi“éh Mi)§§".s treamz§:'nt §eam_
59.

FOI mem them ibm hours, I\;IQH§ fay covered in hay own fee,e,s: without any me¢gr§@,;i;
assistance. Ai approxima£s£y 9;3§ a:.m. on M§ay ,27, 201._¢;, MQ;_;§ WHS Wk¢n m mg trauma
roo.m. H»-er vi_`tais a;; that time We!*,e bfoo¢:¥ pressure of 11.8/62, paige B`G, reapii;a;iqng gz;;§_ and
hew oxygen Sammzic)n wm 3a 32%. S§he- was previ£igd with xixng via a nasa emma at g
lii;z:r:s, then increased to 3 Iiiers' The suppl§;emental oxygen did gm jngrea_$__e her nyg§n
saturatiox? I.eve};,

150.

A't approximately §:3€’ a.m. ma May 2'?, 2'91.4, MD_§§§ W.¢zs §Xa!§igl@d by flra }3;;=;;¢;§§
which was the first time she Was examined by a 'physiciazz. Di.'. B<m€i diagmg¢<§ M@g;§
Wiith acute respiratory distre$s, possible aspiraz:i`on an dim puf'mon'ary eziem-a. `

63.

m approximately 19.:£}.’2 a.m'. on May 2'?, 20.§4,_!\4`0!1!` WB$ UHHSPGI‘¢€G’ by EMS} ii'¢;>‘
klarchth Medical Cen£c:r. 1

.33-

 

 

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62,

At approximaie‘ly 2056 a.,n.i, on May 2?, 2-014, D:‘.. Jam€:S .Ham;_i__i`ton evaluated
Mc_)“!li. in the emergency foam at Habsrs}xam Medica`l C`en;z€r. Dr. Hami'ii¢_n z`§@¢umm;;;ed
that M:)'ii!§ did mm regpmnd excep% by gpaning her ey¢$ and meaning m smu-mi mix CT
seems 's}a.owed mild brain swelling pneumonia ami in§ammaio;y nh;;ng@g gmqu her
pancreas, 'i`here was also-caf'£¢e ground exnesis on her face and iii .§_1§:1' _m-_o:;:iih, S§w `Wz§s
diag;aesed wii:h septic shock, whii<_:h ;‘equiz:ed-n:;mero:us med=i:cati'¢z)ns m miiz':taiz;; a living
survivab.i§§f)}m:)d. pressure'.

_ 63.

m approximately 4:¢}0 p.m.. en May 2'?, 2§}"14, M_Q-Iii was tran£i%:~xre§ to Nm”th@a-St
Ge<;)rga`a Medi.c`:a] Cez]"ker- fin' a coma-, Mcé§]§ r@main¢d in iii `GOIRR until Sh,e awoke on hinge 2,
261»£1,.

_64.

Molii remained _w; N;)r;i;east Geur-gia M¢dicai Ceme;.r threzugh flame 1?~; 3014.
Whi£e Iherq she W-as tréati:d fay p:;eumoui@, s@psis, renal 'f§li¥ure (di,aly_sis iniiia£€d},
urinary tract izzfec¥::ion, anemia pan.craatitis and abnormal Hndizugs 011-a co}.oncgscopy.

65,

W§‘af;n Moifii"$ h€»m&g§.@‘bin sifta`¥.j>;§lized, it Was` deie:ti°m§zmd that Moi!i Wézs stabfe fm
discharge to a juris-era wh$re' she couid receive d-_ia;ly$is three days per week Pz“i-Qy tp
`inca;'cz¢ra=tion, Mf€>li,i had never has..»lc§ kidney failure or`been on dialysis.,

66.

-On lane l'?, 2914, Moili was transferred to Pulasl<i Statc Pri&on, Which has a

Ngg_

 

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iia]ys§-s unit M`{)H.i was house_fi in the izzfimaary and she reportfed,- and ii was noted-, ij§->N;;
s;h<,=) wald not walk or stand} She required use c‘)f a bedpaza,
6'-?_.

O_n lime `lS-, `2034, i~£ Was na;eci? Mi:)i§i had a pressure ulcer .o-zz ?aer ieft .]"-z¢;e;l and her
foot Was_ resing up on a pill-;GW._

6&

O-n er aboqu luna Ié`é,_ 201-4, l§e§,`azn,ciam .Dr. Naz;a;im .Feq§:a=_s-ted- a zp§'zy$§g§l timm-§§
come-vii and noted in Mol§i’s medica§ history that she had general weakness and
diagnos€:€i her with iower ex.£r€:m-if.y W@a§§mess,

n §9.

()n ar about-wm 34§ 29.34-, Dr. Na'zaz`re maddech a eai-_l fi‘om-` 1a ga-SH'O¢HL€W§!Q§§SI
who reported thai the final pa~thoiogy report 912 Mo}lj"s -z:oion biopsy frnm Norih@a$£;
Geo.r_'gia M-e`c£§.eal _Cemer W.as pz:`)s-i‘i.jive sz" Crnhn’$ Coii'tj.&

SYG.

013 or around lime 39, 2€*§¢$; 'it; is §.i)cumeme¢§ ihzlt M.oiii w@nt 'ir;to
caa'di`<)respirz;m!y arres_i' while receiving -c§§aly§_is at Pu§aski_, -B;I_th<)'ll.gh £h§zre `i»S` fm regard of
M@;I§ ever l receiving d'§a§y§;$ Whi:@ hmw §§ P;;;§@Ski Sca:f:§ Pris-@Q, Dr, N;@gair€
d<')c,um¢ni:ed thai he perf€)im@d CPR sm M{)i'ii-i and ilme She had been daing.r)ka-y until her
cazdiac mesa except for compicm w@akncss,

71¢
021 or adam luna 3"0_, 2914, M~GL'§£ went t-o Taylor Coim;ty Med-i;:ai Cgmg;- by

ambu}ance after -She Wen: into cauii:;)resp§mt<)ry arrest Mo.§i was ‘then transferred to-

»,24»'

 

 

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At}-an:ta Mddidi Cenzdr via ambulance and was didgmse'd as having suffered wm 3

pufmoddly §mbo§us and hypoxi?c ischemic '¢_ncdphalopathy.

"?’Z¢

MoI-H has been in d pdrs:is`tduf vdgdi§d?;ive sta:e'didcd mm 3{);, R£}`.';d,

 

 

737
` Piain:tiffd redfleg;@ and ix;ld@rporddc by referdddd die sz~egdidg Pdmgraphs as if ‘i:hcy ' '
Werd fui`ly restated verba;tim herein 7 7
'Zd,

Def;znddm.s. GB€ and }d€§ard of _R§>ge_:_dd, through din agdms_ and emp_foydeg,
including but not !im§t¢d !0, De:f`ezlddnts Adeshigb.i.rz,. W@eise, Kicfdr, Fui'lg¢;r, Pdgez, Sd;)dd,,
Addison,. Whi?:Wor€h, S€c)vdi} and D'r. Ndza-izd had a duty to exercise ordinary ggg¢, 3§§;.;_1?
and di£igdndd in evdi=daf€in§;; didgn<)s:i-ng,_ and fredtigg_hddliéi P'idchdr id a mann@;~ jim =de
in accordance with the dp;§iida?;)ld professjdna§ standard of care of pdii'ents dnddr like
circumstances and Sim.i§dr codditi'ezd§ as MGII§.

` ?3-.\
l Dei`eddants GUC add B{,)drd 01" Regdnt$ breached dhei-r duty to exercise gy§jna;y
_E_az"e, skifl, and diii_genc>e id evdlzuating', diagnosing and treating Moili F:i:scher in at iam
the ibl}e)win-g pdftic'u}drs:
a. Thd ease given to Mdl.ii Pisch'efr by D';efdnddnt A-dddhig-bim on or armand Mdy

23, 2-()_1-<€',7 fell below dye standard of minimum care and treatment required of d

..25~

 

 

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nurse practitione% in at 16a-st the foll¢wing respwcs: '(`1`) fmi-ing to recggrnize:- mm
Moll§°s comp‘§aizzi§ of ch.ilis, dizziness, passing 911th vomiting, in additi@;z m
her elevated haw rate of 113 mrs s=igz;s ami Sy'm;;wms. §§ possible
;éehydz“zlti©n and ii"zf;e'cti€;zln; and {2)- failing to notify a docth 0§“'31\££011£ ’s
abm)z'maf V.itj_af §i-gns find .symptams so that -she QQL;J§ be further @v&_iuaied ;._zz,.;;.d
receisz appropriate tr§zze;§m@m.
b. 'I`}:l@. safe given fm M@iii Yi`§cher `by Deferaé:ént `W<eis*e on <)r wound `i`l\,-§£ay §§
2614_,. fel? be}ow the standaré of mini;nmn care ami 'irsamwm requi¥e.cl af a
;regisi;ere§ wyse in eli k:as_i me fai§owi;ng §espe€»?r_s:` (i) faiii-Hg; ?t§) mcag;zi:ze that
_M:;).I'li"s,_ @xygi_czn aetmra£ion fof 95% ~Was abn@nnaf for a -`tlfz§-zfizy~n-iz;;e»ygaf»gm
woman and in combination W_i'th Mol£i"s eiev_at`ed' helm rate of 96 mail hey
complaint ofbein_g given s;)f ba~ea£ih? 'thes`e =W¢m S"i_gns- Gfinf*¢c“i;-ian_; ami {2) failing
to notify a cic)c_m:‘ ofMolf-i’s aanSm-B.i Viiai signs mad Sy'sz:x_pioms' of infect<§'¢m 39
ibm she c<:)‘l.z`§d faa Hz:,*i:he:' evaluated and receive appropriate irca-mena
'§'he care given to Moiii iri/scher by Defenz;iam .K;E`e:E-`er on or armand May 253
2014 fell below the S`tzmdai‘d of minimum care and imminent z'-:aquired af a
registe§ed nurse irl at ieast fha feflow:ing _1'@.5;;39¥:$: ( ij failing to recognize that
Mol.ii’§. oxygen sa;;_;:r§§ion of 94% was abn€mna§ for a thirty*nine-yea;-'»Ql'd
warn-an ami im .<>Qm%)inati'::m Wii,h M@H§'S. farm-biliin té) stand up Weréz signs _jof
§erctie:m; {2)» failing to mo'ti® a docth of MQifi’s amoan vital signs and

symptoms of izzfection 30 that aim could be further avaiuai‘ed and receive

wg'§__

 

 

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appropriate treatment; and (3) ai§owi'ng MQII_£' 1;§;) tie transferred to a §§g§;d@z@m

unit when Mo!li was demonstrating signs ami symptoms of infeet;ion.
'd. M€)re apec£i§cally,rthé dam given to M'oi¥i .Fi=seh€r 03 car aa*~§§ni'zd May 25, 2343-14
by .Nurz;e. P-ulief fail below the stanéard rif minimi!m care and :geamm;
requirex:§ of a mental h€a}th nurse in at ieasf the foilowing respth$: (1')_ failing
to recognim that §nz-z`onti‘m@r;ee, tungl;;e biti:ng and -faih-,_;z"e 10 .KHSWQ_I~ ""‘cxi"z€zn?ca£‘i@n
iqu'<zs;i'mls,” were signs of a mediaal ii§h'<':s§s; {'2) failing m nozigy 3 §-QQM 911
Mo§£:i’s abn.ormai symptoms scs meat she a<)ui§d be let'l‘lez'~ avaluated and receive
appropriate veat§nent; -§md .(3) a'ifowing M-Q_l`fi to be trans;€érred "to a '£Qc§cd€mm
cali before being evaluated._by a physician
The care given to M@§li 'Fischer fm or amana MH§.I 2.5__, 2014 by .Defe:adam
-S_tone f@i§ krele th@ §tanda¥d of minimum sam and ‘tr<zatmen)t mq,gi:r@c§ -;;f~ 3
mmtzzl h_ea}ih 'Qa;)).§méi:o: ira aff .§e'as; 1313 fQZZ§J.-w§ng resgeei:s_; 7{1) fai§ing_ ig-
re€:,og;zize that i.az§:{_miixzence, t<)rigue hiring and faih::r@_ to aij;swer "‘orien§at§@n'
question-S,” We`rzz gigsz 0:?:`-& medicaf iilness; (Z) fai-§i;ng 'f<) personally examiner
Mo§i'i when siz$_h€ard <;)f her ebnoima`l Symp£¢ms; ~(3') §ai`Iizzg ti;)' notify a,d)g¢wr
of Mc)iffi’$ abndrma§` Siglis ami Symptems 30 that sj.h.§: could be farther mammal
ami receive .appz‘-Opriat@ ¥;L‘§atmcm; and (4) ali'owi;t;g M<}Hi to be Il'azasfén‘ad ;t@` a
lookdc)wn cell before héing_ievaiua‘;§<§_ by a`piz,§/Sician.
-f`.. .M`z)re speciii€;ai§y, the care given m M@i!i Fisc?wr en or around May 255 2014

by N@.;crse Pag,e fe§l below the standard c)i" minimum care and treafm;ent reqnjx¢é

_~2§;,

 

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§§ a wanted health nurse in at least tile fo]!owing respec¥;é-: (1) fai'iing t€)
meagng that incomizwnc.e was a sign of a .:'medic-al §§Hx`ze@s; amf {2) failing w
Hg§;ii§; g ;_£¢;;g-tg_;~ Qf'MQZ_li"§ abnorma} $ympi@ms- SU ‘tha‘f-. 311€- -GGI-ili 116 Mh@r
evaluated add receive appropriate iréatment.
, Th@ sara given to MQII§ `Fi'scher at or around -6:€}7 §.m.. on-Ma;y 255 2614 by
Defend&ni Adz;fison§ fell <b€liz:zw the standar§! -i>-_f minimum care and _ir;eatm§mi
mgn§red. c)f"fa nur§s‘é itt at isasf the fgl§;i:),Wi`n§ T€,SPSG£SZ“ ('Ij) _fa§f:ii:'g-, ._t;g;r ramgp§g@d
- Wh_iie perfomi:lg her Se;grega_-ti<m'reoerd review of Mc)'i}i;‘$ records, that M'Q§§j
was exh:i'b§ting sign-§- and §ym;;t;)ms cf a fsa-ricans me§ica} csnditi<),n Whigh W@;~¢
medical cbntraixjdiaati.§ns far pfé§zeme:ia.t iii Gi`SGiPI-:§Hmy is$?atibn'; (2§ £%z,ih’iig te
notify a doctor of M-:)Hi’§ abn§)rmai 'sig'ns..zmd symp¥;ums so thai she couic§ §§
furth@;' .cva§uaf;e& and receive appropriate t¥eaimeht; and {3) ai.ff:rwi.n;g Mg}`;`j §§
reeme in an isolati<)zz cali withi;zuj£ being evalua£ed»by.a p§zysisfzm, _
. 'fhc: cafe givs:»:n 10 M_D`E-Zi' Fi:;eher fm Ma‘y 25 and May 2?;_ 26.1~§3 by Defendam
Whitwm"-t’h 'i"e_l} be;?lew the standard -Qf`minimum care and markham y@q;;g§¢;; §§
a nurse in at least me fwllewing §esp:z€:.`ts:: ( '1) iming m recognize that 1331 gmng
for two é`&y-S and being verba}§:y unresponsive were signs of if'fness; (2) failing
ice recognize that Moili’a absence of oral intake could lead to de§hyd'ra£§en,_; {“3)
faii~ir;g to recogaize zh"at incontimem¢ is .a symptom of serious illness; (4):_

failing `YO PSI’SOHHH§’ exam§m Moi}i when ,sh.c; heard of her EBHGMU

_,';),g,.

 

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Siympfoms; arm (5) failing to ngtify a 1199th ofMo}Ii’s abnormal -sympt;)ms so
that abe could b;z furthez evaluated and receiv€.z appmpria:te weatmentx
T_he gate given m Ms;zt_li Fis'ci:er mg or around "M:ay 2"?,. 2614 by `Di€::£"&::adant
Stov'a-H, ‘f@}'}` ’be`iow fhsa standard of minimum care and 'trea£ment regained gaf a
nurse in at leasf fha .fQ'IIOW§R:g respect$: (1)- failing to recog&ize that beiz:g
imminent 53 a gym;z:cm of s@riou-§ ii;tnesg; (2€) faiiizwg w MSQMH;" examin¢-
'MGH£ when she heard of.".};z@r a'bri§mna! S_ympt-,c)ims; and ;(3-) failing to ‘n@£iF§/’ 15
doctor of M<}Hi’sj abnoz:mai symptoms so that she cczufd be fixth eva§;:aied
and receive apprqpl‘i-at@ treatment. -
"l`=ltzrz care give;;; iq M_'.cz]ii P-`is:@h,er at P&;zilas£<;i Si-at,e .Prison by D;S. Nz;za§z#c, fell
beiow the standard of minimum cafe and treatment requi-reé cfa pizysi'{;i@ in
at kea-si me foilnwa`.z'zg respecfs: (I} failing to recognize that because @f"kdoil'i.’s
debi:§i:rated ¢czndi:i¢m due w her zee-mmi s§rwus iiin@s»§ and hammer af her paz-§§
history of DVT, M<)-I.Ii was at an increased risk for deve}op`ing biaggi ging gm
pulmonary Smbo§i_; (2) failng m p¥ac_c. MQEH on appropriate DVT._pmph;,_-!i&g§g;_
(3) failing t;<;) wmply wi€h time order 220 previde dia}ys.is, as _gh¢§@ 13 mg
_cfocumemation <)f dialysis, for M_<)H`i P£scher thre:z days per Week as ordered in
her di§charge fi'mn NEGMC; find (4) failing m request that -`M‘ulfi’_g -;i`j_a}ygi§
scat§aet€r be evaI-uat-€d for esxci)»ang_@f§§piac@mmt prior fo luna 3>0_, 201-4 despite

having knawl@dg€-_that the ca“?ihctcr was mci 't`unciticzizi`;ng pxgperl`y.

 

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7'6,

Defentiaint$ GDC and B=oarti of Rhgeh‘ts are fi-ah§e for the negligent acts md
amiss'iozts Qf'théir agents and employees guam the d&¢t,;i:§w _@§-IGSPU¢U.£ gai-amici

77...

Had- the afm<ttm.e;ntit;)tt'ed d@vi_ati,@ng gm ma §WHMMG standng of gate gm
oec'ury¢d, Mx;tli`i Fisch<zr _wo;'u{d have been t£iagnhsed with nn infecti?o';,;g pm%§$ prior w
MHY 2“@ h?’?`*‘-* and atpr@tttitt¢h treat-haw that th atom-hmw hhhtw wm th
app§'icahle s't'mtciaréis of care not occuz~r¢:d, on or around little 19, 2014, Mo`l§§` Fi?sc};@r
WWM have M@EWG the §PP“W§W -DVT P'WPI‘*YM?€?S 335 ‘WC§Hli-d holt have sztt`fe;r€§§;i" the
,i:_:.g_‘attfi€s md inst-dis that have left her in a permng ngmiv¢_ mm

78.

its a altered mud prihximate mann of the professi:onaf heg§igent;e af the G§;z§j and
H{Md 95 R$§tmt;s, and their _agetzt$ and e:mp§oyees, 'MQI'!-:i Fis¢her- hostilth .¢@;§SHW;;;C
injuries that have kit heir itt ;z;r pettsi'sthm vegetativ'é: swift M<:rii-i has .exp_§r§@n¢@d em@m@
physijczrl, nmnt'af, and emt:»ti'onai pain and sut§hting, mental and emotional dj$tms$, jO-$S af
enjoyment of .]-ifez and phr't'htmhht tiisahi§ity, MQM;' 1133 ing;;;_»y@d,: find _Wm GGHHM@ m
mem medicai expenses 3“€§ IGS'Y` WNB€S- 53 a NSUR C’f h@i‘ i"¥?jft$rieS-. _As a Fe‘s.u!'t,. Piaihi`if&
An_gela and James Fjs<;h:zr, jndiv§dua¥ly and as the guardians of Mc)iii Fischer, are entitig;i

to mt award of specia`i mid gehet‘al dantages, and P_Iaint;§ffs demm;;.~;i' a judgmmt in excess

t)f$}'('},£}£}.lj¥.

 

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mng TWGWS'TME LAW §EN§RAL .NEGLIGENCE
\<:LA:M AGA§_-I;§T GB.C ` `

795
Pla§lz!;iff§ ,§:e,aI-l§.egj¢ and incarporate izy reference they §)r@§gz;zing pagagmphs ag §§ they
were i`u`liy restated verbatim herein

30.-

D@f¢rz*démt GDC"S -Gorr@_c¥izfqnail Gf_i¥iz<zrs-, ‘imcl-ud=?zzg', but mt iim§i@d' m., _lj@f§;&dwz;g d

Gex:., 1£\1"):';01):5,`2 chss,. _Gr;%:zz`l$,, Ja:iksio::e:, Llewi§zk§', Prather', R¢b_§ns-Qn, aru;§ j§zi:.e`z? §Wed M@i_}i §

duty to exercise ardiz;ary care in svaluatif-;g .Mc)`i'ii’s' conditi<`:¢n. and s§e¢':urin‘g mg:<i`i_,cm,
emanth fcr»he_z- while she wis in the care and §usfcéy af me -GUC.-.
7 311
Defenda-x;€ GDC’§; coz'rectic§nal offie@rs; ix:§:-Iudimg, bat 1301 fim¢iz:ed t'<);, D€:f@lii€£&fli$
Ge.e, Amo}d, .Goss, G;jiz;z.i`e, JRQ§{;S$H, Lewi;c§z:i, Prai:}ler, Rgbinson .and-Tyh;~r§ _§;r@@g§;@<j
their duty w exercise ordinan care in -evaiuatii:g .Molr§i’s condition am secure mx:di.§zaii
§rwiment for her while she was india care and custody of the GH_C._
82.
D-§f`e;zdai<ii; *GDC is '§"iabie. fm th@-B@giigent acts and omisaiera"s of its agents amf
employees under iii-6 doctrine affesporzdeai"sz,;;),eric:)r._ .
83.
AS a divest and prmxim@i§@ result of the prc)-fe_ss;i::ina§ negligence of the GDC;,. and
their agents ant¥. empfoyees, Mollir Fis:c`h€:.r austa§:z-ed catastrophic injuries that have left

her in a pmi-mmi vegetat.‘w@ ‘state_, Mf)}h` has expm‘ienced extreme physical, menial, agd

-.»31,,.

 

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emotional pain and -suff`@-ri.ng, mental and em@tiunal cli-stress, loses of ¢x-;jeyment Qi` `i-i:f?@,
and permanent disability Mo-l¥i has inc§rr@z§, and lw-_i,`li writ-inure £0 iam,;<:»~;-,rr-1 medinal'
exp§si@s and iost 'Wagesf as a resu}¥: ref heri§;gi'uafies_. As ja `res:ul'"£, Pléi'rififfs wigs-ia :a.m§.
§I"eames Fisch¢r, _imfi'vidual§y and as the guardi'zms of M¢;).H:i F.§sizhez’, are enfi%lec§ man awag§
off speaia-}_ mud gemini damages.

§§UN°_§` THREMTATE LAW §E`NF§_" = ;5_ !L NEGLIGENCE

CL_AIM§ ,AGAINST GDC A-ND B.; `1 .?1 -_§JF REGENTS FIR NEGLIGENT
HIRING SUPER'VISIQN AND RFTENTIOW

 

8`4.

_Plaintiff_;s malicng and inmrpora£e' by reference the fbr.€;;go;ing paragraphs as ihb-ey-l
werr: fully restated verbatim herei»n.

85‘

_Defezad.ants G§C agd Boawd of Regents had a duty to exe):"ci;=se ordinary care, skilji,
and dilige;;ce in hi_r§ng, supervié:'ing? mci waiving agems and empi<z)yees'to pf@y_i_d@ fm
the mcdi:;ai care O;f' inmates in the mss:§edy Qf"‘the GWC,

36,

D`ef€nc§an.ta GDC amd B'oard lof Regcn;s thii@§ tQ €:X€rc:i'$§: ordinary age in.j;§;ng>
supervising amd r¢iainmg` quaIiH-ed ami credentia!e§d medical= prc¥fes'siehais, and
Defendant ZE)r. Nazai`r€ 113 particu§m', ami Defez:c§an-t's GI}C and B_oard sf Re-ge_ms failed to
exercise afd:i-nary aims m Sup@rvis§§ixg `mez:ii<s$;§ practitio§§zrs in general gin the Wom@n’g\
-}z)ri§“,<f)nsf l

37.

As a direct am _pmximatc result cf the professionai ~nag§ii,gence of the GBC am

.-.32...

 

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B~s)ard of Reg.ents, and their agents and emplc;y¢ee$, `Mo!]ii P’.i'scih:er -Sustained cata_gmph§¢
injuries that have !efc_ her lin a persistent 'v¢_g_¢i_a~f_ive. state-_. M.oili has -experi.cmei§. @Xgp@m¢;
physieai, 'm§zmal,. and emotional pain and sufii`¢.rira_;g, mediai mid @moi?;i`ona? §§i;$;f@§§, -}@SS. §§
enjoyment of life, and pemanent disab'il'i<€y. Ma§]i has inc;.u;z:r@d, and win @_Q§-;§M& §§
wong m§:di;cal expenses mci lost wages as a res-uh of her injuries* As a ras;;ft, P}air:atii`fs
Aazgela and Im&s Pis.r:}§er; individua§ily ami as 'th‘c: guardians -x§)fMd`l"ii-i Fi`Se-h@z._,- are cmi-§§

w sm award of epeciai and g.~enemf damages.

 

CGUN.‘I` F§IJR~»~STATE §»AW GE`Z`- . '
CLAIMS §§AIN;STI_` GB(I AN-B_ B§ARB QFREGENH FOR
.`NEGLIGENT TR.AINING
SE;,

Piain£:iffs reallege and incorporate by r§ibr@r:se file foregoing paragraphs as if they

were fu£i`y restated verbatim herein
'8£9,

Defeudants GDC and 3051ch of Re;_gems_had a d-uty t<:) exere_ise ordinary gar§ SL<H},
and diligence §§ training c@?r@otiona’] officers and medica_:.§ pizza-amd that WOU§§ ge
responsible fm the '03:1‘¢ and custody ;)f wma§s in the pz§s§z;n Sygie;n,

' '9€%.

Def¢ndemts GI)C- and BO&§*d of Reg@.rats failed m exercise erdixa.al'y care in iz"a;i‘ning_
correctionaf @fficers‘ and media-1211 personnei ai Arrenda!.'e Sta¥;"e Priaon mud Puias`§§i' .Bt§§e
Pri:'sa)z-z m pmvide fm the dam of inmates in 1;1;§€ pr-i$on.

'91.

As a direct and proximate reside of th§': profes$icnal negfig@nce :gfz;h€ G;}g;j and

,,-33..

 

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B¢;)arc`f .¢;)f Regezr£s, and thei:t“ ag.ems an';i employees, `M¥f)`}.]`i Fische»r sil$~tai-I_z.¢;i` catastrophic
injuries thai have jeff has ina persistent vegetafive -state. M=;:Ilihas exp'eri@:i¢ed emem@
pé}ézysical`, mentzil, and emo“f:i€§nal pain and sui'f`@ring, mental gmi @m§$iénal §§S¥ress-,, liz§s_ £_;)f
enjoyment of Iif'e, mad permanent disab§fi;ty. M<)I.}i has i.):\c‘ufl“ed, sand Wii`}i contian to
incur, medical expz'~s::fses and last wages as a result of her injr-u¥i§s; As q 3:@:5;_;;;_§§>1@5_;1;;§§§$.
A;‘zge?a and ..rames Fis<:h;er, indi§fiduaily ami as the §uz§r.di@ns ‘§;)'f M'QIH Fis@h@r, are enfi»z`i:@d
m an award cf spacia'£ and gmi-emi dam-ages..
CGUNT FIVE--~CLAIM ;UNBFER 42 TU S C. §_;2§§ AGAINST §}EFENBANTS
A§E_§HIGBINA WFISE, GEE, FULLER §_QN£ PAGE KIEFER ADDISON
WHITWORTH. ST€§WALL¢ ARNOLD GOSS GRIZZLE,JACI§S¢N LEW§CKI,

PRATHER. RGBINSON AND ’I`YLI}R, IN THEIR INDIVIDUAL CAPACITI]§»S

I+`GR V,IOLATION 1915 M:’§'_.I§SCHER’SY NSTIUNAL _RIGH'I`S

11pr TH`E EIGHTH AMENBMENT

 

 

   

.1921

Pla@intiij%`s reai.ie,ge and incorporate by inference the fofeg_oiing pariagz`:a,§ihs as i'fm@y‘
W¢'Ie fa`liy restated vert;atim hez‘ein.

- 93.

At aii timms _1'@§@‘5;'3;1% 126 this asti.<m, D@;f@n.dants A§€shi-gbi'n; W<zise, 1€_`;?€¢€2 Fuligy%
_Sto:;ae_, Pagc@ Ki€fe:r, A€igiisonz Wh'itwori;h, Stc)`vall, Am@ld-, GQ.SS;. Grizzf¢, J`acks,@n,
Lewi€ki,_ P-rather, R.Gbinsc)§ af§d Tyl'<::.:f, Wez‘f: acting_u'nder coker of mate law x

94.

When'K/_Iolii 1323 char was at Arz@ndaw Sta`te `Pri'son, _:she had serious medical magda

that were so vai€)us tim even a ]aypers$n Wr;>uld hav'§ .recngn.ized them 111 addide

M '13§ "s medical needs went sscrious beam-133 a deiajy in treating her needz; Worsened her

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wonditions.
l 9§.

]jefendaf§‘ts‘ Adeshigbi-m Wei§&, G.'ee, »Iiull»'£zi;',, SiGn-€; KiS-`f¢r, Pa;g¢,, _Ad;§fj$%?
`W'hitwor`th,. -Si:oval§, Arn£)§ki, Gos,s, Griz-zle$ JaQI;S'Dn, L@wie`id, P'z'athez; `Robi.ziso:i, and
’I`§fiex, 'W<»>r-e d¢iib§mtely indiff@r@ni to M.olii Fischer’s seri@us medical needs Wh_i§¢ 5§€
rwfas- at Arrenda§i'e Sta.€¢ 'Pr-is§m;:$ fm vioia¥i'on' of Mn£ii’si cfea§lf_y .e'stal§li$h¢d righzs under me
§§th Am€némem to me U:'zif€ed S€aies C'@fin#stimri_c)'n.

v -»9.6.

fn pmicc:l'ar, i;i'€)m M`iay 2.`1., 2914 uati»§ M.GIH }eft Arr¢;nd'a;le grate P»x:ison in an
' ambulan<,)e 1613 May 2“'"!, 29`§4, `ff}€;i"@;§da;ms~ Ades§a¢igbin, Weise, -Gee, "Ful]'er, Su:mez Kie"f"@;-*,
P&ge., Addison,. Whimv<m:h§ ~Stova£f,r Am€}.l_d, Goss, Grizzi¢, facias-gm L`¢W§¢ki_, §?m;h-eiz,
}2.¢::¢:)£ras\:m:,`7 §nd T§;le=r¢ had encounters wi;;h_ M<)H§ at vari€)x§s times as her medi;:a§i condition
deteriorateé. Az each time that these rimi§§vi;i;xai Befendan£s had enc'o§mers with Mall;i
from May 21, 2014 through May 27, 2914., M@Ili had serious-medical needs,_and ¢a@h g;,f
these Def'enc`i'an"ts failed 10 pmvié@ her with any medical safe cr they proviée.d_her with
medical ease ibm mw so caraory and grossly §n§z{ie_gu;a£e as m mmi-mt fe 119 para at _3;§;

9*'7'd

As a direct amd proximate resu`§t of these _Defend.ants’_ deliberate indifferen¢¢ m
Mc')'ili Fi&zchei”s` s¢rieus medical H@@»:`l`s, 'M_OH§ 'Susta§ned catastrophic injuries thai have ‘Ze£’z
her in :.~1 persistent Vege§a;£ive stat§. M`o'l'ii has expc:¢i-€nced exiz:"@m'e ph.ysi'i..e:al_`, meniaf, am
.em§)ti`ona! gaix'"x and Sufferings memaf and emotional distress, loss of enjoyment of Bfe,

and _pemmn@nt diszt§ziiizy. Iv§`ol§`i has incumd, and will santian 450 wants m@d_§¢aj

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expenses and 1051 wages as a result <_)i` her i-nj'urics. As a ,resu§t, Pl~aini:i.f.f§ An;gf:§a mci
James- §§s;c'hfer, individually and as the guardians -b;f"` MQ!H Fisch§f,' are amin-led 19 an @WB;_§
§§ S;_)e'@i¢a:£ and geaa€ral dmag§s¢

C(}UNT SIX-CLAIM UNI§ER 42 U S C. 8 1983 A`G§NST §E.F:E’NDANI L

NAZA§RE IN -`H§S §ND§V§D CAAC§TY FQR IOL-"T§O {}F MOLLI
FISCHER’S CUNSTLT`U _ §§ `_ AL RIGHTS UNB§ER "I‘_I:I_-E_. EIGHTH 7

 

 

 

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Plaj.ntiffs -ma}'}ege and incez*p__orat@ by refez'en£e the foreg<zing paragraphs 513 fifth@§;
view fully ;f::s’£”ated Ve;rbat`im herein
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AL ali times yele'vam to this aci;i'~@n,.f)efendalnt Biz Nafzai-re ‘Was :a;z€in.g under ¢@}g;~

of E,taie iaw.
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tle a physician §nma<iat¢c;f be ireai@d-, and her needs were so obvious that even 3
iaj)pexs@n wouk% .§zave-.z'::c@gz;iz@i§ them I‘rz adéitioz;, Mo_§&i’s medical BB¢:§§S W€;rei: Ser-im;s
b.eciause delay in framing the Heeds ‘wz;ar§<-me;i her cogdiiié)ns.
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D'e_f@n.dam Naz_aire Wa$ d@§iberate}y indifferem w Moi'ii_ Fischer’g serieus m@£lif;ai
needs wh.i§e she was at Puia§§>:i S`~taii: Prisoz;, in violation €)‘F Mc)}li’s dizzy-ly estabiis§ae&

§'i‘gllts under the-1313le Ame:,ldmemi w the Unit€d Sfat€_s. C¢.:vn,S“tiw*:iam1

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recent gerqu ij-ines$ and becams€: of hef-past history 'DYEVT; Mg';‘g.-i- was at 311 i;;¢;¢§gg,d'
risk Fo.r deve§opingblood dow and pt:}monary cmboli; (2) féifcd. -t‘o provi;c;@_ M@§;;‘ Wi;h
d§aiysi§s' fhwa days a w¢ék,r as Qrdere€i in her discharge from Noz*th@'a&t Geoarg§a,- Meéli.¢a'§
-Cen;er; and (3) .i`?ai`ieci m .r§:qz:cst -iha';‘ _Mo`!£i’s- r§ialy.s,is came:t:;-;r bag eva&h:a§e§i for
cxchange!repfacemem prior fm lurie 303 2814, despite having knowied§e thai the gath@;@;~
Was `not functicn§irig properly

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m Mo_lli_ I»'”ische:r’$ faceer medical needs, M'Q]ii sustained catastrophic injuries :tha;,have
left h§r in a pefsjstem vegamtjve .sta'te.. MG§_Z»§ has experienced extreme -;;hysj_ga§$ m¢»,m.&;s
and emotional pain and suffering umw and @m@fiorial cti-smsa loss @f-enj.§ymm §§
§ii`r.=:, and permanent disabiiily. Moili has 'incm:rec§, and will continue to iowa me§§<;_a§
expens€_:s _al;zd l€)s»;§ wages\ as a resmit of her injuries AS- a resui“'£, Pi-a§ntif§j`s Arzgelg and

James_§"§'s;cher, individually and as the guardians of M<)}li P§sch§rz are writich to an award

ofsp@c_ial and general damages.

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»iramai;es dyeceived adequate-.medicai ca11
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and supervising 1:1;)111131111:)'1111 11110€1‘3,_ inadequate staffing faei}_ities, 111-111 equipmsz gmi
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Pric): to Me]_li ¥isc§uer~’s 111§`1111111, Ue.§enda§t$ War'éer) S€ab{)ii and War€len G_wm
had actual 111 11011511“111111111 umwa that there 111:1;1 111111§;)1‘1111:1 Sy-Stemic,; dfst“:¢i'enaies 111 1111
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respectively '.I`hese- deficiencies inc`iuded the cust<)ms _0:€ hiring md employing 11
significantly lange percentage 01" 111@1:`1_10111 personnei who head been previ§:;usly 111111:11111§

for providing hzad@quzz,te medium care-10 padants, inadequately training 1111 11111111111§

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siaft§ng, faa`ii-§£i:es, and eq_zlié;:)m@nt, and mixttip§ie‘ instan¢es of inadequate mez,_ii-¢§;} care
provided to inm=aies_, inclu-d:mg iam ate death as '3 :r§sulz of.i:naldsquafte medical '@'M.,

il-l`.

Prf§or to Mol§;i Fi§cher’s ir;juries, Défe!id§nts CGmmi'SjSi-Q‘Hsi' C§WGHS, Il?r. Lewis, I}r'.
Nichr)`!a, Warcli@n. Seabe.fi, -.a:c:xd Warden Graf;-t failed _t»z_) take steps to ser-red the véd;espz=¢ad
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qz;zestionahie backgrounds; ('3) failc'é_ te take steps to ensure m@dic'al p§rs.cznnel Wz)r§iiii‘§g ita
tim §th prism::s were chpet¢nt and 'quaii'i?`icé; -(¢§) fslii`ed “s'r.) take sfep's w ens.u§'e §haz
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properly Supervésed`; (4) f§ifecl to take steps 10 ensure that `correcft;§or:ai oi`f§¢eys w¢;~@
` p;'.‘<dp@r!y trained saudi siu;)€:r\fi$_e€fi mga:-~;;iing imna‘ie medical neeé`s and .caz'~e_; (_5;-) fa§'§@gi to
take steps to amato ibm file Wom€:n’s p§“is»mz §h£;a_ft§zeare system had a»;k;qugt_@ gm;_f§ng,-
fac-iii'i:ies, and €:Quipmem; (§) failed to ia§ze: steps 10 ensure mart them Wazfe a;§-égua£e
standar-ds,. poi,ic:’\es, and pro-G¢dums for prc;)vi_ding medical canal to femzz}e inmates_; (_7}
failed 10 take steps m e§zsm~e tim f§znal¢ inmates in panicular Were receiving adequate
medical ¢@Ié; and (§§) failed to p;'op€>z;§y investigate other iia§ians€s of inadequate medical

care provided to inmatcs,_ including some tim resuf"£f:d in inmate deaths.

 

 

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-establ"i-sh¢d rights un.d¢xr 1113 §§th Amer_-;dmcnt said fha Equ‘&l P§‘Glte<z¥;i€)`xs Cians:z efthe

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guardians 'c)i"l\/loiii Fi-sch¢r, me enti€ied to 1111 award of special and g¢r;eraif damgg_c.s,

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§§UNT EEGHTm-SUPERVISURY -. ILI'I’Y_ CLAIM§ UNDER 42 U __S .C §
1981 A.`GAI-_N,ST BEFENDANTS RQDGERS FINN¢ §R BAILEY g 1111;{('§,‘!1(;`,11.§ii
AN_D WARDEN GRANT §117 T§EIR INDIVIB'§_IAL CAPAC§TIES FOR
VIOLATION 1311 B@LLI `. ~§*CHER’S~CGN-ITUT§§NAL RIGHTS Uj` _.ER

11111_: 1 AMENDMENT

 

 

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_PIa`i"nti-ffs 15111@§<111111111<:011101111 1131 reference 1111 ibrego.ing paragraphs 111 311111<11*“

avers fully restated verba¥;im 111 em'inl
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111-1111 drugs 1611111111 111 1113 mfi<m, Defen;§am Rcdg¢rs., 1111111,_ Ijr. 11111";111;1., 131-__

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0 1111 'me¢§ic;zs§ care of inmates .i'n' 1116 1111111:11131 of 1113 GD€,`.,. inc'¥r_uding 1111 111111;§ and

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waving of medical pcraom@l, the development of seandazi:dsa pali_¢.ie$., ami procede
r@gmd`in§; the waluation, .di`a§n¢;)s§s,. 1115 treatment af inma’fes’.m$edix§ai' ewadii-t-ians, and

ensuing that inmates reqeivad adequate medical car-¢, I,`)ef`endant Dr._ Bzule,y Wa,s also

responsible for S;§p@rvigmg §§ NaB-,_;_m
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and for the 1131 cre;iemi-a§ing prc@ess 1111 new h-iTE-:;»@ 11111'¢1?1 included reference che;zi}§§,§_,

backgifc)und chec§'<& and verification 01` licensure
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Nich;o}s 1113 G'eorgia C<:)z-"-recf:i`onal Heal`t?zcare’s fi?na}}poi"i`¢y maker on matters rela§e;}_ 10
the medi-<:al-€;a:re of`inmaies in the custody af the G'I§C? inciudjng 1116 hiring aim 111311_.~;111.§
of medical pcr_»sr)'r::';e"l, fha d'ev»@iaplz;£;at §§ 313111111~<1_5., p@.lieieg,:a;zd pro-Czdure& wgarding
the eva§uation, diagn;osis, and tr@aimeizat Qf inmates’ medical _<:<)zzdifions, agd ensuring that

inmates receiv€d adequate medical clara DQf¢ndant Dr. Niehwl§; Wa,s. also re$;ponsi§afie 1191

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h.§re Dr¢ Nzlzaire as the M@d‘i.cB-l_ -D_i-rcchqr al Pmlaski- Stai:e §F’Fis@n-.
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'De'f¢m.da'zit I}r'. Baiie*y and Defendmt Pinn were on -s:é:tu&i br eongt§umiye_ ngin
that B<r. Na_za£re Wa.\z nat wm;_)etsent to -;:zi~aci:i:oe méd_`ici"ine wh@n 1101 unger the gym
sulpewisiorz oi`_anoth@r physis;ian. N€zv;ertheiess, they hired _Dr. N_z.z.z_ai;~@ and gmi `h§n m
charg§ of '£h@ medical care at a huge wc>m wife pl‘§ison, wham he was not umw the éirasz
Su;zewis'ion :{f)f another physi:;-ix@n.

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D'm'ing 912 Na:-zz;im*§ nine»~year tenure as the Medica} Direcmr at Pulaski S£H;g
Pri.s'on,E ¥)€:fcndams Dr. Baile}’, Warden_ Grant', Dire§;for?inn, Admizzisfrgmr R@d_zg¢rs., _H;M.
- D’;: Nicllo`!s. mid actual or consizwc“£ive matias that Dz‘.'.Na-zaife Was riot providing a§equai;¢
medica¥' care to female inm-a£.es. 'I`his ‘i:zc}.ud§=d actual or ecmsims;:_t`iye\ noii;:c;s of mu§':t-i§aiie
i;z;stanc_es cf Dz~. Nazaire failing w provide adequate .m@dicai care io.imnat`es_-, inducing §
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P):ic:)r to M{)§'§i Y`isch@r’s injuries, sz@néant§ .D.r, Bzz,iley, War<ien {},mn;, DL{~@§;,_;O;
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failed to ensure ibm Dr. Naz:'ai-z‘@ mls prop@rly credentialed and competc.:lt; (2}_£@,§1@.§ 19
ensures that :Dr; Nz;zaire was properly trained and superv‘is<e§§; 63) fa§ied to take steps th
emma ;h:ai: -imzza.tes un<_i¢r Dr, Na.zz;iz‘e;’s care wm receiv-ing,ad¢qua£c medical case; and

(4)- failed to properly invesii.gz:te other ins€ance c')f inadequate medi£:al care provided to

Mé;¢;"

 

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§nma£es, inclizdihg some theft resulted im wmm:é) -deaths.
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Ij}é£e-néants Dr. Baiiey., Wa;'deiz G:van:, Dire_,ctor J?inn, Admizz-istrator -R.czcigers, 335
Dr_. Nichols’s failur@ t_~:;» tak@ steps to ensure thai D:r,_ Naza;ijre provid¢d adequate m,@-c=§;¢aj_
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cwnscious indifference 10 ike consequeme§ .Qf'their acts, condm:t, and mmis`$iczrzs. As a
result, Pll-aimtiffs §re' entitled to an award off §§u'niti,ve `-damage§ firm the §n.divid.ua}iy n
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Defcu:iant$ have acted in bad faitha been unne;:e§$arily aisz st:l;z_¥:ihs)mly H€§;§§gu$§
ami have sau$ec} Plaimiffs mmcc.esaary 13'011¥:)!@- and expen-sfé'. As a rest;!i;, pursumt to

O.£E.G.A. § 13~6»11, Plain§:iffs am entitled m an award of an'omey’$ fees and expez@§@§ §§

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Pi§i§§if'f§ §§§'li_e'ge §§§ i§§oipor§t§ by §§f§r§n§§.-t§§ foregoing §§§agr§;§§s §§ i§'th.§y

We§§ fu§.i§ restated verbatim h'§rein.

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Pl§i§t§ffs are entitled in t_§§ir ‘§§om§y’s §§§s and casts §§ litigating §§§-3m §§§

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T-ha§ the C@§§ award §§§ §§§§r § j§¢_ig-_l§§§t §§ §§§§r' of P-Z§i:§ii§f§ §§d against
'£h§ :i§<iivi.c:!§.§lf;,f named D§f§§d§§is for punitive damages in an §§10;§:§
sufficient to §§§i§h and d§t§r;

'I`hat_ they C§ur-t award §§§ safer § §§dgm§r§: §§ f§v§r §§ Pl§in‘£iff§ and agai§§§

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EXHSB§T 11

 

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§,m_@____m.w?__%_§§§ _______ __ i_., _ __ _ _ __§____§YM_H__MM§
_ ______.___§HE$ __ _ EB%Q__SQ_ __ §§_B§w_£%§&,m¢ _ _ _ _ _

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nw w_____mm _u!__ _ _ _ mwm §§§ m\_____.____.._ .1__? _
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1§_»&§ .__QDB§QD¢E$§~ ._ . . _ _u §§ M_Twmb§_w®@._.~\m mg§.w§. U§_§§U» _|Jfl¢¢lf” "N.

 

 

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§§§ _…__.___,_____ _ _m_m______________ _____________ _
_ myme _W_ §§§ WMM_M§S»§§§§§
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_ §§§ z__mwm m__$_w _mmm_m §§ mmwm m
__ Y_.,§_§_____.,§SS i__.,..._.___ _ _
. _ _ c§£com§m$u§§!:l! _ »§§m__.

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STA;TE GF'QHIFO'
C»*O`-I`JNTY GF.FRA`NKLIN

AHFKBAYIT de LAWRENCE- .H, ME'NBd-L§ :n.-O., FM¥M`

Pe§soria!lfy BPP¢MSG before md the undersigned oi?i§de;;~ dizzy -a;-;"t§_:;or§'gd;§_ ppg a§m§H-§Mr
.Qg:hd,l,,awrenee `H. Mende), I).G,,_ FAACP, CCHP,_ Who after being duly s-worn, deposed ag
'fo_§;i,ows-: l

I.

I am Lawedce Hz, M<:mde}, .Ij).€`-}.. FAAGP;_ -CC`HP, d competth adui¥; over the ego of
eighteen labc§:'ing under no digdbilifiie:s and otherwise `cc')m_petent to give fhiS aff§davit., § am a
physician daly ij;:€msed w praefiw. medicine in file Sta.¥cz of U§_i.i¢i). 1 pm'.i‘@;d;y serve 33 p,-C}f;;iga]
maith Pmi:"essor et Oh;_io U`niversity -I{eriiagc `Co]}ege of Oe.teepdthin Medicind and m ;:z?§':so a
Co§lei)c)retive .Physj;;iau et Di:=scovdr Health in New Alba,ny', Ob;i-d. .`I am erisa the Medicd§
Diz‘ectof at Leave_nwonh .Deient_ion Ceniex in Le~;z;ve_:nwdri§h, Kansas,_ 'Wi'ze.r_€: §'Gm 2011~2£?12, l

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1 make this Ai?f`iddv.it for may iawMi use or purpos;e.
3.
.I have lawn a physicidd Since 1£982 'f?.)§§c:¢w”ing my graduation i§dm `{)}z§o Uz;iv¢rg:igy, png
have been licensed sided 1983. l did d roidiii_xg intem£hi§) at Doctors Hospj_t~a] in Cdiumb.zzs,, 0th

from 1'932»~1983 add was d residen§ in In%ema§\ M¢dio§ne 21!; Dc)'ctors Hospi€al in Coi_pmbpp, §§§-350

 

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iirc:)m 1983-1984 I hold a eerd’dcatisp in Fam`$iy Practic.e; from tide Ameriean mppngng BUM

of Fam,ily Prac§ic@, ami a Certi:f§ed Correci§onai Healthcax:e Prof.es$idda}. and a F‘oHo-w §§ the

mexican C`G;Hege off Qdmoiiynal Physjiei'exm.' wise added iad an Am;¢§iw§m S§Myor for me

N&%£i€)zia§l COHHHZSSZ'E)R 911 COm:¢ticmal H¢:a}f§'xcaze £Yem' 19§§-'~.2-€¥61'?. 'My cred€mid-’§y ago more

wl 331 nutiir_z,ecl in my Cur:!-‘§?&uj’um Vita¢'. adac};ed hereto as Exh§bi;t 1.. '
4.

1 am §15¢£13§1'§€§ 33 88 ‘¢‘xped by Yimi@ of my ;k::ewied-_§e_, -s'}d»i:l;, experiedee, ;n~ai,m§pg 333-§§
education regardng fha issues raised m 'f;his a£§§dz),vit, .Z sam a¥sD'-qHHl-Hied to give gpin§<§ns
regarding the aecep.t'dbie standard of catel.amd conduct expected icf the lprofop_gipm}§ W};-QS¢.
WM§W is §§ issue in this &Wdavii, and § have instructed taught analy'm supervised norma nm¢
_pract§fltioners and othef medical staff for at Eeas€ i:hrce of the last iivé years {_;,O§;h immeé§me§},
Pr€@@§ihg this affidavit and prededin'g the neg}igeni_adts 1 d§scuse herein W_ith such &eqp¢my §§
esiabi'ish an appropriate f_evei cf knowledge of as$easing end saying for the -ggr_;]dii~;gm da$§r~ibed
herein-. f have ammer practiced id my ama of Weo-ia!.ty fm at' `feast dme df the l;a.g`t__ five years
both imm'edid.‘£e§y precedi-z;g my signing cf th§s ai€£§i§a_vi§, and preceding me n£g§gem am 1
discuss herei.n:, with sufficient defined cy id es?.aleish an approprie$e knowledge in perfonq§ng gm
proceduz"c, diagnosing die condiii@d, or rendering the dominant which is aiie;,;red to have been
perf<¥)med dr rendered .negfigpntfy by ibp 7;lzr¢.;);£`dz»@,seit~zzaz.¢z,l3 Whose consider is ed issue in ibid offi§§y§;_
S'pdcific&fly', dufng thr¢€ ;Qf` §h€: five yda§§ immediaton proppg§jng 333-ppg event-ga z haw WHHIBI§Y
mud routinely cva§ueted patients simi§m' m Mz)§fidnne Pfieeher (“Molli .Fischer” , ineh!ding' those

Ahibi'tifl_g S`.igi§$ RR€§ Sympi`dms_ cf inf€¢_tion§ and mode .req;.;i§idg_ d.o¢p vein twombesis (=..¢DW:»,_)

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_p.sog)hyissis, wish ssi=ii§éism frequency to hays as appropriate levsi sf knowis'dge rsgarsi;';sg she
appropriate standscm of.med§ssl sara so be appiis<i in the fast situation dcqume;¢;gte<§ hamm
'5,

Ihsvs wsi-swiss certain msdiézai ss¢sscis‘ QY’MQIH Fis`sh¢:’ and the mq<§i_¢gl mm p;m-,_»§ dea
'"b_y’ Moii'i Fischs:§s msdicai`prov_iciers at R_sbun Comzty ..Isii,, Arrsndsfc Stat¢_,z Pr§ssn (“"Arrssdsle”)-
md Pnlaski Stsfe FP;.‘ZSOH _(“.Pulealski”) Ersm May 21, 2034 through lum 3#(;}', §01¢}. 7

.6.

T.h;e facts ami opinions sspssssed in this affidavit are based on the cnnfenmoraas_gu§
clair-iss made by certain hsshlicare provi.d¢_:ss of ?v§eili Fiss§isr is the psevii)usly' referenced
_m¢dicai 'rssesss, my gaining and educssom and is *the»ssesnnem of psiism;s like MQH§ Fj$g;;§;‘
The facts in sims case upon Whi'c`h § ss'ss my spisisss »ars_ sf s sype rsassn;sb:}y reiied assn by
experts fn my parf'icu`i;ar field

_ ?’,

813 opinions expressed herein rise 10 a qusé-izy of more l'iksly tisst not and are M¢§@ w a
reasonable dsgses. 0._f`medi<:a§ smsis'ry.

S.

Am{mg oth er thing_s,' my .ssview sf`tbe documents and other §izsa‘.`e.rmafion reveals than

a. Oza Msy iii , 2814 st approximately `?:_50 a..z;;;,,, Ms?ii }?i'sshsr- assured st Aasssdsje way

having hess trims':§"s`rrsd- from Rs.bz:cn County lai`.§. Sh's was 39 years s;f" sga {;i;~‘:_ vf;j»_¢¢

sss is seen ss smb;;lating without difficulty from s trass_psrt vehi_c_ls-,

 

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`;1:')_. Du::iz;g her diagnci§ti-e intake at wanda-le size `w'a-s reporteci m have many h¢gjm

pazob§¢ms and she named-having chilis.-
O'n the mowing <:fMay 21,_ 291-43 Melii His§her was evaluated by A_mbgr gwn@', 'LPQ'

if =1§-`€) (“Counsel¢:)r:§wn:e”), wh§) perf€m¢i?' a- m'@n;'ia§-' h§a§fh `§zyaluatiwz md mma

 

‘£hat' Mol]i. was anxious .h-e¢:ause she had numerous medi;:a¥ issues, `Shc also noted that
.Moli`i had a stt'c§z'y of dép.rcs`_§ion‘.

, 'Orz Mégy _33, 29?.4, Mulli__ Was_ eva}uate§ in the mechch r;;);it` aiA;r;Bnda§e by A.;`a;;»,g
Ad:eswgb§n, .NP (“P-th§§e Adc§l-:lig.bin*’”). Ms)'iii compi;di§:ed of having .pjasse§ m mae
and .c_>f having vo=m:‘t?ing, diaz§n@ss, chil§s, and asthma Nwse Ad;eshi_gbi':: oyderediah
work 116 be done ibm éays later and prescribed ch¥ml, a mediczz:§g_zz .f¢;r ygm;@j;; m
mzmonivs Wmizmg m dizziness, aaa air wider fbi asaqu

. 'Dn way 245 2§14\ at a;§;)z"oximately 3.:09 p.mr M¢ll§ F-ischer was -Seen agaiqu in mg
clinic s:i.!l` .c;r;)mpleining §§ multiple prohiems. Dani`c} Weise:§ RN (“Nurse Wcise”)
documented ihis :E-:::<iemctj<_)n and the that he susp¢;sted that MQ£E`F§SQ¥;€Y was fdkiing
her _i.l'mess¢. '

.' At -6:45 p;;m$ on `May 2-‘1§, K.Gl¢%_, M@l§i F§sc.her was assessed again izy Nuxsb Weise fay
S§:zormess of brem;hq Hez.' bl‘ooc§ pressure was 124!?6,<1'.133#£3111}9§;:‘¢1&1:¢¢ W§x-s 916 mci her
., oxygen sa£uz'a&ion Wa-S. 95%, Which is `I;>W oxygen Sata:x‘a§i@n in a`B$§'-Y€ax~u`ié msm-an‘
Am<mg blame `WB§S@°S distinctions 10 Moi-li §‘".isz:§mr was m “z_mt fake ii¥ness.”

. U§: May 25, 20§¢§ at 6115‘ a.m, Mo`.ili was hand on the ilec)r half dressed .Siz@ was

told by _Of£i.ce- Patrick Amoid {‘-"'Oi§cez Am:)§-e;l”) 10 gail up and get .;ire_ss@da ,i;m,M@;j-i

.¢;~

 

 

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said Sh@ Mu]d not bécmas`¢ aim W£;t$‘ Si¢ik-, OH§,;;@F Amo?l:d nmi-§§§ it I:?-.,§j:gab§th {§@e
(“I,t. Ge§:”), officer in charged of me sim:*ion,

. Az m mom 10-:04 &.m. im way 2§, 20;4-, L:. size-3 @Qn:a¢wd Q@W@,;m S\gj;n@ mg
iman her that Mc)_i-£i maher was !ayinjg make flom and had wmated on herself
it -Gce also told Ms. §toneiha’£ Moi'_}i haci'bean ai medical an Frida:y, wu zf;ey gmi-§§
find nOthi:a"-g W€)hg Wit?z hen He,r- urine was nat tested for infec£i<;);c)..

Suz:aetime hammill IQ.:G.~*-¥ \@;m. and !£_J:z"ll& a.'m-, ;I’~I;n"s¢.sz;nlah Pufl§r-(‘-*Nu:§se'§n£lér”)
examineé Moi`ii Fisc}ier and mud fhat'-s`he had a `sm'ail amount of blood in her mcgqu
and rei§m`ec§ to M$W;~zr orien;atiom- ques£»ions_ and Qf§c&:r instructimz& New-&ez `F;i§lm
reported her §ndin_g$ `ti) Col§nselor S~i<me Wh'o determined that Mlaiiii did _nGg.h-ay@ g
mental health issue and ghoukf be sent bo lockd:)wn.for failure to 'fo}ic)w ins'nmci'ons.
Some§;ime between ii):(}é a.m. and ji{):l${} _z,z.m., Nurse §§azfa, Sz§e_ Kief@y {`“Nwse-
Kie,£ez‘”) was cal.!`e<:i 10 assess Mo'lii pric.;)r to forma being used to move has ngrse
Kief¢r miami tha§ _Mo`ili’$» skin Was mem and dry, and her respi?zii§m!s mabor#.zd,_

. f)n May 25_, E@i»`@ at 1§):4'£) a.in.. force Was used 19 move M<‘)i§i. m vafio'zgs diggs
Mnf`ii Wz;s §i-f*`ted W.i;{h beer ai~ms behind im back almost over her head, ms _g;}aced cm a
railing daily and was thrown to the gzrc:):.;s¢aclg Mo§l-i ms moved w a segrega;ion gmi m
m ab'€z:ll‘t 3 {}-;4'0 :s»m.

Ai’£er "th@ use of for§:e, Mo}li was reassess;zd by Nu_rs@ Ki-¢zi’er and she noted tim them

Was 110 change in MQHi’s Si;ats,xs, Mo§fi’s oxygen sawa“ti¢)n was recorded‘to be ?4%

Whiczh is abnormal in a 39»3'@§:'»0}<;'1 weyman.

5

 

 

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m 193 -0? HIOUHH 31:28 a.;m. on Mz;y 25, 29!.4,:3‘}~&?1£¢$,@ P_zzge: at Arre'zidal@ Spgk¢ 613 the
telephane Wji'h Nm*s@ Tm;i Maraada Fran§<wn$ho¢k §"‘Nm»ge ‘Fram{m“@hook,?z at
R$hwl CGWW' »§f`,aif w ask &HGizf MQII:§ F§s<zher-"s demeanor when she was m R;i}j§n-
'COMY 5351~ `NW<“# ankwv"$§zook worm¢d Nars¢ Page that ai§thoqgh Moii<§ had
PI`OM¢H!S¢ wop€%rati'ng wiy in her mcar¢eration_, Si:ze. mve:;c‘ exp.eriepe§;§ ig¢m;inm%
while at Rabun County Ja:ii, Nn:‘rse F.rankkmn»$hoo'§< offered m serial M;Q;h' gmth

izi@iiical rectf)riis .§z.nmediaieiy or take them to the jiai`i,¢ bmi Nm‘-se _P_age mfng gm

, od§f@z.
il» Al -H;P;>roxi'ma~;ely §:0'2‘ p.m. on May 2'5, 201-4, Kvisti Addi_son, L'PN reviewed gm

pwcelnent in segregation mid noted tim there 'w::'!'¢z 1110 med§csl conh~aindicagggs_ ;;;,
MG"JFH ’s placement in s¢gz'eg&ti'<m._

¢On_ May 26, 2014, ar ';`>':35 p..m., m fws/5313 re;;<md m Yhzm- L. "§Wmmh, RN
(“Nu-rs{: Whi'tworth""`) fhai Mo§!li had not eaten in 2 days, was laying 011 the f§-goya was
not bathng and was 'verbaily unresponsive. Her behavior mg umw as ‘Hm'z HMSMI" ,
because S_h_e had been Wr§ite:z;,ug:\.for feig;:ing iii§llne:‘~:'s bef-¢;zr¢.

011 May 21?-, 2&14 mr ap§xrxzxi§matel!y ;S;O§ a.m,, '£,t_. Rus‘$e]§ mailed Nuzse Whimm;h gm
Sa'j,d .MG!E had defc§iated and smez`z;red faces on her arms. Nurse `Whitw£)rth stated ibm
she Wou;!d iv.=:p<f)!i; iii-§§ inefgi@m in Rho:xda E, -S£cv&§.L-, RN (‘?Nm§e ‘Stova}§"’) m §§SCH.$
Wix".h MQH£’S 'ir¢atm¢m wam.

AI &p§)roximateiy -_9:30 a.m, Mo}§i_ was m¢eiv@d in the umwa sham and .;;¢;; v§¢;.g.@

-Wez‘e'f deed pressure cz§ 138/62, pul$e: 9(), 'r@spirations 2-6`, 93 at gg%, gm WHS BWEB

,,;gw

 

 

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oxygen via a nasal` ¢-a;tzttlul-a at 2 titet's?, tim increased to 3 litem but it was matl:‘tti that
`he'r oxygen 'Satuxatiém'jthvet-s there not increas§ng.

O,n May 271 2014 at approximately 9:30 a.m. Mt)ll§. Fiseher was examimtd for the-; fitsf
ninety 7et physician -B;~-. Bt>tad, who `diajgnttsz:d heat with asth trespasth dtht::e;ss,
l;;)tzs'si_h'it‘: aspiratit)ttmudfm -pu`tm‘@nary eitema.

At R_G:GZ a..m-\, EMS arrived and took Mo`lti m Habe:rshafm 'Mt:€tica§ Cetate'r.

A`t appz'¢ximate>ty `39:56 a..m._,j Moili was eva!`uattzt§ at Ha,bersham M_etiit:a'l. C@tzttzy’-s
-§mergeh¢y room hit 1331 times Haimilttm, Dr1 Harztitttm .dot:mnentéd that Mtzx;tti tim
got respond except by ttp"en§a:tg her eyes and trang to stema§ m?b. '(i‘"t‘ _SQBRS
7"t;t-n:)wt";cl mild §:)rta;itt swel}`in_g,. pneumonia att-d inflammatory change:;z qu;d h¢y
pancreas. Ther¢ was a§sc) aot"fe_¢ grimm cmesi's ‘t:)n her fac&` and in hat mgmt Shg
was diagnosed With septic shock which teqttirt:d numerous medit:atit)tts ito tminzain a
iiving, survivab§e biased pres$ute,

Moi§_i was transfetret§ to Nm'thettst Gttatfgia- .Miq:di-eal flentt~:r {°ZN.HGMC’U `-t'at
approximately tt:.é£} _pim. on May'-Z’?‘h attd watts in a chma.
. Gn lime 23 2914-, -Mt)t-H white }i~§)m her wma.
. Mt).!li was a_t1N?:`th/IC from M-ay 27 through luna 17`, 20154` Wle their, she vwag
treated for pneumoan stzpsis,, mmi fajtute (d.ialys.is` intii?ataed`)., urinary tract infect;itm:

.an‘ami.,a,_ pansteatitis and atmoth findings on a cotmoscnpy,

 

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x. Gza'ce M`o!`ii’§ `hemi)gic)b§n stabiiize`d`, it Was det@mii:iecl s"ile; was 'stéb}s fox diminin
m ii pi~i;sp_ii Wh@ré `S'{m wald moeiv¢ dialysis three days per week ri’~’rior to heir
iil<:arceration, Mi)ili had..nevsr had kidney failure 01 hew on dialysis.

_y, fin iam 17z .2;£)34, Moili ms 'iransfcri@é th Puia§iii Prisi:ziii5 a facii=ii;y '-;i`:ai bag ii
diaiysis mit, so that sinai gould mamie diaiysis thief-3 days per Wee§i. She was housed
iri the iizl'iz'.mar‘y and she .repoi+ti:é, amici it was netei:i, thai She couic_ixl’t Waik dr Sf`a;'fi_d.
Rec:ords iiidica;;e that she required this 1133 of a be§paiz-.

'2*.. -0;1 lime `1-8-, 210}42 iii was wired that Meii'i had a pressu;’e ulcer on her left lied and lam
four was vesting '1;;:)" m ai»pi§iow,.

aa, {}n or ahead lime 19, 2014, Dr. "Yvim Nazai¥e requested a physii:ai therapy cimsu'lt
and il.ot@€i in Mo`il§’.€ 'med§»;>a'l hisiofjf that She; had gi%n'ierai§z@d Weak_;ness_ apa
diagnosed her with lawyer exir;;e'mizly WQH%<;!€SS. l

bb. fin 0_1‘ aroiin<i .Tu;n_i:s 2.4, 2£}§4¢ i}r, Nazaire received a call at Puia§;;_i fg@m 3
gastroentemiogist reporting tim the final paih'oi<)_gy import for a eden biopsy
performed im Me`lii wiii~,!i:z- she was admitted tci NEGMC Waa positive for Czo§m;’s
Ci:ilii:§s-.

cc. -Qn or arounc} imm _BD, 2014,} it is docwnented that }~/'.f@ili mm into cardim‘¢:spiwti}r-y
arrest whiie: recalving diaiysis at Puiaski, §§t}a<)ugh ibew .i$ no ri:cord of M,o}§';i ever
receiving dialy$is Wixiie housed at Pi;daski §§th Pri$on. 1311 Nazai_m dbgumenf@§ that

he performed §§aidiopuimi'maiy Rciiusi:-iii>iiion '(“CPK”) ma M'<)ili `Fis_¢léer gm gm ake

 

 

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had been doing amy until her cardia¢ m¢st,. except for complete weakiiegg pri§;ir g
her caidiizi:espi:'gio;ry amish 1 n a
iid. 1311 or armin luna 311 2@'14, M¢)ii`i went to T'ayfor Covmy M`edi€:a§ Ce’mer via
ambulance._ A`Ftei" a bd€f evaluation, Moi!.i Wai, tiansféi£red to Aiiania Medicai Ceq;iii;r
via ambulance and wés diagi:osed as havdzg.suffered fi~i)m a pulmonary embei_ii; and
.hyp€zxic i-imh€:mi¢ enéispha;iii§paih_§*; 7
e@. .S;inci: lime 311 2014,_1\/1011111&3 beam in a persistent veget&iive mata
YMNIQNS __
7 S>.
1113 cars given to Mi')lii Fi,?si;he'i~ by the graff and medical personam ar Ayww;ia}-@ £@3;§
the standard Gi" minimum care and trea:mcnt required of prison staff md madicai

b€_l.aw
under like circ£iu"istamzes and Si.mi]ai sun nundizzgs by fai1ing tro recagnize and ;€9139-99

persf)mz"€!
to signs ami sympioms m Mo;lii ii condition ibm indicated she 1135 an infc_xiziim
111
Moi'@ Spe<;ii§>;:a§§y, fhc maria given to M,oiii F:i's_cher by NL;IS¢ A.d@$h;gbim 99 09 ngd
May -23" with gen Y’SIQW me Swwim'd 917 minimum mare and H'M.itmenf -r€qlzir€d. i)f`f` a guise
P"*"C*i`*i"n@‘ i“ fit wm ih*>‘ fGHOWi-ffii mriw¢is:_ m féiiing m recognize thai Mi_.)izi'"s wm;pzaigis iii
chills’- dizziness’ passing O'm agd Vommzig» in acidian .ti;) imr- eieva£ed head mci of 113 Werii

signs and £)'mptoms of;)ossii)ii: dehydrm?@n and iii-T`€GHOH; ade {2) failing to notify a d€ic£or f
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M@]Ji’s almozm_a} vital .sig:as zuth symptoms 30 that hhs could be further evaluated and mceth

appropriate tt*ehhmm.
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abnormaf far et thmy~r§;ze~yeat*old woman,aztdf in combinatth WithMoHi'“s elevated heart path of

96 311th chm§zfaintr)f being short of breath these were signs gaf infection; mud _(§`)" fai;§'-Hg~ m

notify a doctor of Mo!!i"s abmrnm} vitai-h§gns and gym§tems of infecti€)h S_t;_» that Shh smith he

further evaluated ami receive appropriate fragment 1 -
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MQW spect§t:a}ly, the care given to M¢:)Ri Fisc:her by~Nit_txse .i<;ief#~sr ott car armde Mhy 2§,

2014 fell below the standard Gi"miztimum care and treatment requirt%'d of a registéred nurses th at

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abnormal far a thi\rty~sn'in§~y¢m~o}d woman and in hhm-I)in`af:i@zz With `M`-:)I_ij*s inabj§'ity 10 stand up

were Stgns Of infection_; (‘2) faith th testify a dt)ctor atf M@`H:"s ahmme vital signs had
symptoms of infection so that she amici he hmher evalth and receive appropriate mann t
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and {3) ailmwing Mo'}ij to 'be'ttarzs-fe;tred to a ihskdovm unit when MQH§ items demonhtt:ating signs

and symptoms of'izlfet:tiolt

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Mcire s;z;zcif§&alzly, the ¢ar§ given to Moili Fisc},zer en or,z_z'r<;)w);d Ma,y 215 2434 by N`um$
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More specifically, the care given to M<)Hi Fischer fm ar around May ;gj, gig_;¢; by
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Page fan below the standard of minimmn care said treatment required of a menta$ hea}i§:x

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EXHIBZT B»J‘§

 

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